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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:castrovpeopleofthestateofcoloradono22sc7122024co56july1,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2024 CO 56&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Ricardo Castro&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 22SC712&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;July 1, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-syllabus"&gt;&lt;p data-paragraph-id="162" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="162" data-sentence-id="175" class="ldml-sentence"&gt;Certiorari to the &lt;span class="ldml-entity"&gt;Colorado Court of Appeals Court of Appeals&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_175"&gt;&lt;span class="ldml-cite"&gt;Case No. 18CA2389&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="254" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="254" data-sentence-id="265" class="ldml-sentence"&gt;&lt;span class="ldml-disposition"&gt;Judgment
 Affirmed&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="2" data-id="pagenumber_284" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="284" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="284" data-sentence-id="297" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="323" class="ldml-paragraph no-indent mt-2"&gt;
 &lt;span data-paragraph-id="323" data-sentence-id="335" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Megan
 A. Ring&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt; &lt;span class="ldml-entity"&gt;Meredith K. Rose&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;Public
 Defender&lt;/span&gt; Denver, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="426" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="426" data-sentence-id="439" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="465" class="ldml-paragraph no-indent mt-2"&gt;
 &lt;span data-paragraph-id="465" data-sentence-id="477" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip
 J. Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt; &lt;span class="ldml-entity"&gt;Frank R. Lawson&lt;/span&gt;, Assistant
 &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt; Denver, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="575" class="ldml-paragraph "&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="575" data-sentence-id="588" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, in which
 CHIEF JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MARQUEZ&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt;, and
 JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt; joined&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="575" data-sentence-id="739" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;joined by
 JUSTICE &lt;span class="ldml-entity"&gt;HOOD&lt;/span&gt;&lt;/span&gt;, concurred in the judgment.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="3" data-id="pagenumber_808" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;h2 class="ldml-opinionheading content__heading content__heading--depth1" data-content-heading-label="Opinion (SAMOUR, BOATRIGHT, MARQUEZ, HART, BERKENKOTTER, SAMOUR)"&gt;&lt;span data-paragraph-id="808" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="808" data-sentence-id="821" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;OPINION&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/h2&gt;&lt;p data-paragraph-id="829" class="ldml-paragraph no-indent mt-4"&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="829" data-sentence-id="842" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt;, JUSTICE&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="858" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="858" data-sentence-id="869" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_869"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Trial by jury is perhaps the most vital cog in the wheel of
 our criminal justice system.&lt;/span&gt; &lt;span data-paragraph-id="858" data-sentence-id="963" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have long attached
 &lt;span class="ldml-quotation quote"&gt;"great importance to the concept of relying on a body of
 one's peers to determine guilt or innocence as a
 safeguard against arbitrary law enforcement."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="858" data-sentence-id="1140" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:williamsvflorida1970,399us78,81,90sct1893,1895,26led2d44653oo2d55" data-prop-ids="sentence_963"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Williams v. Florida&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;399 U.S. 78, 87&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1970&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="858" data-sentence-id="1185" class="ldml-sentence"&gt;Accompanying this hallowed tradition is the right in felony
 &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; to a fair and unanimous verdict by a jury of twelve
 free from outside interference.&lt;/span&gt; &lt;span data-paragraph-id="858" data-sentence-id="1337" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1185"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II, §
 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890050040" data-vids="890050040" class="ldml-reference" data-prop-ids="sentence_1185"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Ramos v. Louisiana&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;590 U.S. 83, 90-93&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_1185"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Boulies&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;690 P.2d 1253, 1255-56&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="858" data-sentence-id="1469" class="ldml-sentence"&gt;Because the incapacitation of a juror in the middle of
 deliberations can place this right in jeopardy, our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; has
 developed a framework to shield the right while preventing a
 mistrial.&lt;/span&gt; &lt;span data-paragraph-id="858" data-sentence-id="1660" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; now reaffirm this framework.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1692" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1692" data-sentence-id="1703" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1703"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;the case before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;&lt;/span&gt;, a juror became incapacitated after
 deliberating for approximately nine hours on felony charges
 brought against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Ricardo Castro&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1692" data-sentence-id="1874" class="ldml-sentence"&gt;To salvage the
 trial, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; replaced the unavailable juror with an
 alternate juror.&lt;/span&gt; &lt;span data-paragraph-id="1692" data-sentence-id="1964" class="ldml-sentence"&gt;Although it acknowledged that
 mid-deliberations juror substitution raises a presumption of
 prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_1964"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Burnette&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;775
 P.2d 583, 590&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, it rightly explained that such a
 presumption may be overcome by taking the thorough
 precautions developed in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_1964"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="4" data-id="pagenumber_2262" data-page_type="bare_number"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_1964"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d 478, 492&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="1692" data-sentence-id="2315" class="ldml-sentence"&gt;After applying such precautions, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; instructed the
 reconstituted jury to begin deliberations anew.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2422" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2422" data-sentence-id="2433" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2433"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The reconstituted jury deliberated for five and a half hours
 and then returned a guilty verdict.&lt;/span&gt; &lt;span data-paragraph-id="2422" data-sentence-id="2535" class="ldml-sentence"&gt;Castro appealed, arguing
 that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had reversibly erred by replacing a
 regular juror with the alternate juror.&lt;/span&gt; &lt;span data-paragraph-id="2422" data-sentence-id="2659" class="ldml-sentence"&gt;But a division of &lt;span class="ldml-entity"&gt;the
 court of appeals&lt;/span&gt; upheld &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s actions.&lt;/span&gt;
&lt;span data-paragraph-id="2422" data-sentence-id="2733" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2659"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Castro&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;No. 18CA2389, ¶¶ 6, 29&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Aug. 11, 2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2791" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2791" data-sentence-id="2802" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2802"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, Castro maintains that whether &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; has
 authority to replace a regular juror with an alternate juror
 after deliberations have begun presents a question of
 statutory interpretation subject to de novo review.&lt;/span&gt; &lt;span data-paragraph-id="2791" data-sentence-id="3037" class="ldml-sentence"&gt;Relying
 on that standard of review, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; urges &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to conclude that the
 controlling &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3037"&gt;&lt;span class="ldml-cite"&gt;section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2023&lt;/span&gt;)&lt;/span&gt;, does
 not allow for the mid-deliberations substitution of a juror
 and, therefore, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred.&lt;/span&gt; &lt;span data-paragraph-id="2791" data-sentence-id="3269" class="ldml-sentence"&gt;Castro then reminds &lt;span class="ldml-entity"&gt;us&lt;/span&gt;
 that in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_3269"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2018 CO 72&lt;/span&gt;, &lt;span class="ldml-cite"&gt;426 P.3d 336&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; adopted a harmlessness standard of reversal in a situation
 in which the alternate juror was inadvertently permitted to
 be present and briefly participate as a thirteenth juror
 during the first ten minutes of deliberations.&lt;/span&gt; &lt;span data-paragraph-id="2791" data-sentence-id="3574" class="ldml-sentence"&gt;This, &lt;span class="ldml-entity"&gt;he&lt;/span&gt;
 asserts, is also the appropriate standard of reversal in a
 mid-deliberations juror-substitution situation.&lt;/span&gt; &lt;span data-paragraph-id="2791" data-sentence-id="3692" class="ldml-sentence"&gt;Consequently,
 &lt;span class="ldml-entity"&gt;he&lt;/span&gt; asks &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to reject the presumption-of-prejudice standard of
 reversal from &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_3692"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_3692"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2791" data-sentence-id="3807" class="ldml-sentence"&gt;And,
 because in his view &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; have failed to establish that
 the

&lt;span class="ldml-pagenumber" data-val="5" data-id="pagenumber_3881" data-page_type="bare_number"&gt;&lt;/span&gt;
 mid-deliberations substitution in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; was harmless, &lt;span class="ldml-entity"&gt;he&lt;/span&gt;
 argues that his conviction must be reversed.&lt;/span&gt;&lt;span data-paragraph-id="2791" data-sentence-id="3989" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN1" class="ldml-noteanchor" id="note-ref-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3992" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3992" data-sentence-id="4003" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4003"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; see it differently.&lt;/span&gt; &lt;span data-paragraph-id="3992" data-sentence-id="4029" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4029"&gt;&lt;span class="ldml-cite"&gt;section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is ambiguous
 as to whether &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; has authority to replace a
 regular juror with an alternate juror during deliberations,
 there is no way to assess whether &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; errs in
 making such a substitution.&lt;/span&gt; &lt;span data-paragraph-id="3992" data-sentence-id="4271" class="ldml-sentence"&gt;But regardless of whether
 substituting a regular juror with an alternate juror during
 deliberations is error, it is potentially prejudicial to &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3992" data-sentence-id="4432" class="ldml-sentence"&gt;So, instead of delving into the appropriate
 standard of review to ascertain whether an error occurred
 here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; presume that a mid-deliberations substitution of a
 regular juror with an alternate juror always prejudices &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3992" data-sentence-id="4669" class="ldml-sentence"&gt;It follows that the only relevant inquiry for &lt;span class="ldml-entity"&gt;us&lt;/span&gt;
 is whether reversal is warranted.&lt;/span&gt; &lt;span data-paragraph-id="3992" data-sentence-id="4753" class="ldml-sentence"&gt;And that question turns on
 whether the precautions employed by &lt;span class="ldml-entity"&gt;the

&lt;span class="ldml-pagenumber" data-val="6" data-id="pagenumber_4823" data-page_type="bare_number"&gt;&lt;/span&gt;
 trial court&lt;/span&gt;, when considered in light of the surrounding
 circumstances, overcome the presumption of prejudice to &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4955" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4955" data-sentence-id="4966" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4966"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Hence, today, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; explicitly proclaim the continued vitality
 of the principle &lt;span class="ldml-entity"&gt;we&lt;/span&gt; first articulated over three decades ago
 in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_4966"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and then reinforced a decade later in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_4966"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;: Substitution of a regular juror with an
 alternate juror during deliberations raises a presumption of
 prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to a fair trial, but
 that presumption may be overcome by taking the precautions
 delineated in &lt;span class="ldml-entity"&gt;those cases&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="4955" data-sentence-id="5400" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN2" class="ldml-noteanchor" id="note-ref-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; This is the standard of reversal &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 apply here.&lt;/span&gt;&lt;span data-paragraph-id="4955" data-sentence-id="5451" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN3" class="ldml-noteanchor" id="note-ref-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5454" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5454" data-sentence-id="5465" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5465"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Any contention that it is improper to use the
 presumption-of-prejudice standard in this factual scenario
 without first finding &lt;span class="ldml-parenthetical"&gt;(or at least assuming)&lt;/span&gt;
 error—because it's a standard of reversal—is
 an attempt to exhume a hypothesis that has been six feet
 under since &lt;span class="ldml-entity"&gt;we&lt;/span&gt; necessarily buried it in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_5465"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="5454" data-sentence-id="5776" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_5776"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; court&lt;/span&gt; used this standard of reversal
 without first finding or assuming error.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="7" data-id="pagenumber_5868" data-page_type="bare_number"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="5454" data-sentence-id="5869" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;Irrespective of whether there was error&lt;/em&gt;, it felt
 compelled to impose a rebuttable presumption of prejudice
 vis-a-vis Carrillo's right to a fair trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6022" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6022" data-sentence-id="6033" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6033"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, applying &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_6033"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_6033"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, as &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 must, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; complied with the
 precautions laid out in &lt;span class="ldml-entity"&gt;those cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6022" data-sentence-id="6177" class="ldml-sentence"&gt;Indeed, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;'s approach&lt;/span&gt; provides a textbook example of the
 proper effectuation of the teachings of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_6177"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_6177"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6022" data-sentence-id="6313" class="ldml-sentence"&gt;Because the meticulous precautions
 employed by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; were sufficient under &lt;span class="ldml-entity"&gt;the
 circumstances of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt; to rebut the presumption of
 prejudice to Castro, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the division's
 judgment.&lt;/span&gt;&lt;span data-paragraph-id="6022" data-sentence-id="6516" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN4" class="ldml-noteanchor" id="note-ref-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="background" data-parsed="true" data-id="heading_6519" data-format="upper_case_roman_numeral" data-content-heading-label="
 I.
Facts and Procedural History
" data-specifier="I" data-ordinal_start="1" data-ordinal_end="1" id="heading_6519" data-confidences="very_high" data-value="I.
 Facts and Procedural History"&gt;&lt;span data-paragraph-id="6519" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="6519" data-sentence-id="6530" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="6519" data-sentence-id="6533" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="6562" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6562" data-sentence-id="6573" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6573"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Castro lived with N.G., a child, and her grandmother for some
 months.&lt;/span&gt; &lt;span data-paragraph-id="6562" data-sentence-id="6648" class="ldml-sentence"&gt;During that timeframe, Castro dated N.G.'s
 grandmother and became close with N.G. and the rest of her
 family.&lt;/span&gt; &lt;span data-paragraph-id="6562" data-sentence-id="6760" class="ldml-sentence"&gt;When Castro and N.G.'s grandmother broke up, &lt;span class="ldml-entity"&gt;he&lt;/span&gt;
 left Denver but remained in contact with the family.&lt;/span&gt; &lt;span data-paragraph-id="6562" data-sentence-id="6862" class="ldml-sentence"&gt;Several
 years later, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; returned to Denver, and N.G.'s
 grandmother allowed him to stay with her while &lt;span class="ldml-entity"&gt;he&lt;/span&gt; resettled.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="8" data-id="pagenumber_6980" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6980" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6980" data-sentence-id="6991" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6991"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Shortly after Castro's return, N.G., who was nine at the
 time, spent a weekend with her grandmother and slept in her
 grandmother's bed.&lt;/span&gt; &lt;span data-paragraph-id="6980" data-sentence-id="7134" class="ldml-sentence"&gt;One day, Castro returned home at 5
 a.m. and insisted on sleeping in the bed with the two of
 them, instead of in his own bed in a separate room.&lt;/span&gt;
&lt;span data-paragraph-id="6980" data-sentence-id="7280" class="ldml-sentence"&gt;N.G.'s grandmother acquiesced.&lt;/span&gt; &lt;span data-paragraph-id="6980" data-sentence-id="7311" class="ldml-sentence"&gt;When the grandmother later
 got up to use the bathroom, Castro scooted closer to N.G.,
 pulled down her pajama pants and underwear, and started
 fondling her vagina.&lt;/span&gt; &lt;span data-paragraph-id="6980" data-sentence-id="7477" class="ldml-sentence"&gt;Castro then inserted his penis into
 N.G.'s vagina, causing her pain, and repeatedly whispered
 in her ear, &lt;span class="ldml-quotation quote"&gt;"It's okay, sweetheart."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6980" data-sentence-id="7610" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;he&lt;/span&gt;
 heard the grandmother returning, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; stopped and moved to the
 other side of the bed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7704" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7704" data-sentence-id="7715" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7715"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 N.G. made an outcry, and &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; subsequently charged
 Castro with sexual assault on a child and sexual assault on a
 child by one in a position of trust.&lt;/span&gt; &lt;span data-paragraph-id="7704" data-sentence-id="7878" class="ldml-sentence"&gt;At the end of
 Castro's jury trial, &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; delivered their closing
 arguments on a Thursday afternoon.&lt;/span&gt; &lt;span data-paragraph-id="7704" data-sentence-id="7982" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then announced
 that Juror W was the alternate juror.&lt;/span&gt; &lt;span data-paragraph-id="7704" data-sentence-id="8046" class="ldml-sentence"&gt;Before Juror W left the
 courtroom, the trial judge instructed her that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was not
 discharging her but merely recessing her, and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
 remained &lt;span class="ldml-quotation quote"&gt;"under all the same admonitions that &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;she&lt;/span&gt; was]&lt;/span&gt;
 under during the trial."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7704" data-sentence-id="8268" class="ldml-sentence"&gt;That is, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had to &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; keep an
 open mind and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; avoid internally deliberating about &lt;span class="ldml-entity"&gt;the
 case&lt;/span&gt;, discussing it with anyone, and viewing any media
 coverage of it.&lt;/span&gt; &lt;span data-paragraph-id="7704" data-sentence-id="8432" class="ldml-sentence"&gt;The twelve regular jurors commenced
 deliberations that afternoon.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="9" data-id="pagenumber_8499" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8499" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8499" data-sentence-id="8510" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8510"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On Friday, the jury continued deliberations before recessing
 for the weekend.&lt;/span&gt; &lt;span data-paragraph-id="8499" data-sentence-id="8594" class="ldml-sentence"&gt;Between Thursday and Friday, the jury
 deliberated for approximately nine hours.&lt;/span&gt; &lt;span data-paragraph-id="8499" data-sentence-id="8675" class="ldml-sentence"&gt;Unfortunately, over
 the weekend, Juror C suffered a heart attack and was
 hospitalized.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8764" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8764" data-sentence-id="8775" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8775"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On Monday morning, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; spoke with Juror C's
 daughter and learned that Juror C was &lt;span class="ldml-quotation quote"&gt;"not going to be
 able to, at any time in the reasonable future, be part of
 this jury."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="8764" data-sentence-id="8958" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;Accordingly&lt;/span&gt;, Juror C&lt;/span&gt; was discharged without
 objection.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9014" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9014" data-sentence-id="9025" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9025"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Given the circumstances, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; presented three options to
 &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; declare a mistrial; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; replace Juror C with
 the alternate juror and start deliberations anew; or &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;
 proceed with the eleven remaining regular jurors if both
 &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; agreed.&lt;/span&gt; &lt;span data-paragraph-id="9014" data-sentence-id="9288" class="ldml-sentence"&gt;The defense declined to stipulate to an
 eleven-person jury, and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; wanted to avoid a mistrial,
 if possible.&lt;/span&gt; &lt;span data-paragraph-id="9014" data-sentence-id="9405" class="ldml-sentence"&gt;So, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; decided to pursue option two and
 brought the eleven remaining regular jurors into the
 courtroom to inquire whether &lt;span class="ldml-entity"&gt;they&lt;/span&gt; thought it would be
 possible to restart their deliberations with the alternate
 juror.&lt;/span&gt; &lt;span data-paragraph-id="9014" data-sentence-id="9629" class="ldml-sentence"&gt;After explaining that this would require them to tear
 up or erase any notes made during deliberations thus far and
 to &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;tart completely over,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; directed
 them to return to the deliberations room to discuss whether
 &lt;span class="ldml-quotation quote"&gt;"it would be impossible for &lt;span class="ldml-parenthetical"&gt;[them]&lt;/span&gt; to not consider in
 any verdict the deliberations that &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;they&lt;/span&gt;'d]&lt;/span&gt; already
 had."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9014" data-sentence-id="9971" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; further elaborated that the decision did
 not have to be unanimous, but that it wanted &lt;span class="ldml-quotation quote"&gt;"to know
 whether any of &lt;span class="ldml-parenthetical"&gt;[the jurors]&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="10" data-id="pagenumber_10106" data-page_type="bare_number"&gt;&lt;/span&gt;
 ha&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt; hesitations about whether &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;they&lt;/span&gt; could]&lt;/span&gt; do this or not
 after talking with each other."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10201" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10201" data-sentence-id="10212" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10212"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The jury returned to the deliberations room and after
 approximately half an hour sent out the following note:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_10328" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="10329" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; were unanimous on the first count as of Friday, end of
 day.&lt;/span&gt; &lt;span data-sentence-id="10393" class="ldml-sentence"&gt;In fact, wanted an extra hour on Friday, because &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 believed &lt;span class="ldml-entity"&gt;we&lt;/span&gt; could decide the second &lt;span class="ldml-parenthetical"&gt;[count]&lt;/span&gt;.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_10491" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="10492" class="ldml-sentence"&gt;If the question is whether &lt;span class="ldml-entity"&gt;we&lt;/span&gt; can approach new deliberations
 w/ an &lt;em class="ldml-emphasis"&gt;open mind,&lt;/em&gt; because the alternate will be
 bringing new perspective, yes, &lt;span class="ldml-entity"&gt;&lt;em class="ldml-emphasis"&gt;we&lt;/em&gt;&lt;/span&gt; believe it's
 feasible.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_10660" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="10661" class="ldml-sentence"&gt;If the question is whether &lt;span class="ldml-entity"&gt;we&lt;/span&gt; can enter new deliberations in
 the &lt;em class="ldml-emphasis"&gt;same state&lt;/em&gt; of &lt;em class="ldml-emphasis"&gt;mind&lt;/em&gt; as Thursday, no, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 can't undo all the conversations/learning from prior
 deliberations.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_10836" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="10837" class="ldml-sentence"&gt;That being said, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'d like to complete our service w/ the
 alternate + see &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; through to the end.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="10942" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10942" data-sentence-id="10953" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10953"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 After discussing the note and some &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; with &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; concluded that under &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_10953"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; there is a
 presumption of prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; when a regular
 juror is replaced with an alternate juror in the middle of
 deliberations.&lt;/span&gt; &lt;span data-paragraph-id="10942" data-sentence-id="11206" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; found the jury's note
 mitigated any presumed prejudice:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_11277" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="11278" class="ldml-sentence"&gt;But in my judgment &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ve gotten a note from this jury
 that overcomes every dimension of that prejudice that you can
 imagine.&lt;/span&gt; &lt;span data-sentence-id="11405" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; said —and &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are being very nuanced
 about this —&lt;span class="ldml-entity"&gt;they&lt;/span&gt; said in the third paragraph, If the
 question is can &lt;span class="ldml-entity"&gt;we&lt;/span&gt; pretend like &lt;span class="ldml-entity"&gt;we&lt;/span&gt; never heard any of the
 earlier deliberations?&lt;/span&gt; &lt;span data-sentence-id="11585" class="ldml-sentence"&gt;The answer is of course &lt;span class="ldml-entity"&gt;we&lt;/span&gt; can't.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_11619" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="11620" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;they&lt;/span&gt;'re saying in the second paragraph, if the
 question is can &lt;span class="ldml-entity"&gt;we&lt;/span&gt; start deliberations anew with an open
 mind?&lt;/span&gt; &lt;span data-sentence-id="11736" class="ldml-sentence"&gt;Meaning, that &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ll

&lt;span class="ldml-pagenumber" data-val="11" data-id="pagenumber_11758" data-page_type="bare_number"&gt;&lt;/span&gt;
 listen to anything new that &lt;span class="ldml-parenthetical"&gt;[Juror W]&lt;/span&gt; wants to contribute,
 then the answer to that is yes.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_11852" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="11853" class="ldml-sentence"&gt;And then in the fourth paragraph &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are begging to
 continue.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="11917" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11917" data-sentence-id="11928" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11928"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Having assured itself that the eleven remaining regular
 jurors could begin deliberations anew, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; next
 questioned the alternate juror to determine whether &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had
 followed the instructions it gave her immediately before
 recessing her.&lt;/span&gt; &lt;span data-paragraph-id="11917" data-sentence-id="12179" class="ldml-sentence"&gt;Juror W responded in the affirmative.&lt;/span&gt; &lt;span data-paragraph-id="11917" data-sentence-id="12217" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; also
 attested that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was willing to rejoin the jury and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
 could think of no reason why &lt;span class="ldml-entity"&gt;she&lt;/span&gt; should not participate in
 deliberations.&lt;/span&gt; &lt;span data-paragraph-id="11917" data-sentence-id="12365" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; asked Juror W to promise
 that if during the deliberations one of the jurors said,
 &lt;span class="ldml-quotation quote"&gt;"Oh, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ve already decided that, remember?,"&lt;/span&gt;
 Juror W would &lt;span class="ldml-quotation quote"&gt;"speak up and say, &lt;span class="ldml-quotation quote"&gt;'No, you
 haven't; remember the judge told &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to start
 over.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11917" data-sentence-id="12611" class="ldml-sentence"&gt;Juror W obliged.&lt;/span&gt; &lt;span data-paragraph-id="11917" data-sentence-id="12628" class="ldml-sentence"&gt;This exchange between &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; and Juror W took place outside the presence of the
 eleven remaining regular jurors.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12746" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12746" data-sentence-id="12757" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12757"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In light of Juror W's assurances, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; brought back
 into the courtroom the eleven remaining regular jurors and
 instructed the reconstituted jury:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_12915" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="12916" class="ldml-sentence"&gt;You are to begin your deliberations anew.&lt;/span&gt; &lt;span data-sentence-id="12958" class="ldml-sentence"&gt;And I want to talk
 for a minute about what that means.&lt;/span&gt; &lt;span data-sentence-id="13014" class="ldml-sentence"&gt;It doesn't mean that
 you have to pretend you haven't been spending—that
 you didn't spend all of Friday talking with each other
 and with somebody else, &lt;span class="ldml-parenthetical"&gt;[the juror who had a heart attack]&lt;/span&gt;,
 and not with &lt;span class="ldml-parenthetical"&gt;[Juror W]&lt;/span&gt; about &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-sentence-id="13245" class="ldml-sentence"&gt;Obviously, you've
 done that.&lt;/span&gt; &lt;span data-sentence-id="13275" class="ldml-sentence"&gt;That's happened.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_13292" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="13293" class="ldml-sentence"&gt;But . . . you have to begin your deliberations anew.&lt;/span&gt; &lt;span data-sentence-id="13346" class="ldml-sentence"&gt;Which
 means you cannot say, &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Oh, remember, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ve already
 worked through that.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="12" data-id="pagenumber_13429" data-page_type="bare_number"&gt;&lt;/span&gt;
 have already all decided that this element of that charge has
 or has not been proven beyond a reasonable doubt."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_13545" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="13546" class="ldml-sentence"&gt;You have to start over.&lt;/span&gt; &lt;span data-sentence-id="13570" class="ldml-sentence"&gt;You have to be open.&lt;/span&gt; &lt;span data-sentence-id="13591" class="ldml-sentence"&gt;And you
 indicated in your &lt;span class="ldml-parenthetical"&gt;[note]&lt;/span&gt; that you would be open to this new
 point of view that &lt;span class="ldml-parenthetical"&gt;[Juror W]&lt;/span&gt; may bring.&lt;/span&gt; &lt;span data-sentence-id="13701" class="ldml-sentence"&gt;But it was not just a
 new point of view.&lt;/span&gt; &lt;span data-sentence-id="13743" class="ldml-sentence"&gt;It's that now that &lt;span class="ldml-entity"&gt;she&lt;/span&gt;'s in the
 jury and available to give you that new point of view, you
 have to start over.&lt;/span&gt; &lt;span data-sentence-id="13856" class="ldml-sentence"&gt;You have to start over with each element
 of each count.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_13913" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="13914" class="ldml-sentence"&gt;And my staff will bring you new verdict forms back in case
 you filled out your verdict forms in part already.&lt;/span&gt; &lt;span data-sentence-id="14025" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;'ll
 bring you a new set of blank ones, verdict forms.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_14082" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="14083" class="ldml-sentence"&gt;You've elected a foreperson.&lt;/span&gt; &lt;span data-sentence-id="14112" class="ldml-sentence"&gt;I want you to start over and
 discuss who the foreperson should be.&lt;/span&gt; &lt;span data-sentence-id="14180" class="ldml-sentence"&gt;You should talk about
 that again.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_14215" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="14216" class="ldml-sentence"&gt;I want &lt;span class="ldml-parenthetical"&gt;[you]&lt;/span&gt; to erase any notes, if you've made any
 notes....&lt;/span&gt; &lt;span data-sentence-id="14279" class="ldml-sentence"&gt;If you've written any notes on the whiteboard,
 please erase those as you go in.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_14360" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="14361" class="ldml-sentence"&gt;If you've made separate notes . . . during deliberations,
 separately, I want you to destroy those notes.&lt;/span&gt; &lt;span data-sentence-id="14467" class="ldml-sentence"&gt;Again,
 that's to help you—I don't want you to go back
 saying, &lt;span class="ldml-quotation quote"&gt;"Oh, wait, remember &lt;span class="ldml-entity"&gt;we&lt;/span&gt; talked about this element
 and &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ve already decided all that."&lt;/span&gt;&lt;/span&gt; &lt;span data-sentence-id="14618" class="ldml-sentence"&gt;You're
 starting everything anew.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="14652" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14652" data-sentence-id="14663" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14663"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The reconstituted jury was dismissed to recommence
 deliberations.&lt;/span&gt; &lt;span data-paragraph-id="14652" data-sentence-id="14735" class="ldml-sentence"&gt;But, immediately after the jury exited,
 Castro's &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; informed &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; believed &lt;span class="ldml-entity"&gt;the
 case law&lt;/span&gt; required &lt;em class="ldml-emphasis"&gt;individual&lt;/em&gt; questioning of the
 eleven remaining regular jurors about whether &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could
 begin deliberations anew.&lt;/span&gt; &lt;span data-paragraph-id="14652" data-sentence-id="14967" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; recalled those jurors and
 questioned each separately.&lt;/span&gt; &lt;span data-paragraph-id="14652" data-sentence-id="15032" class="ldml-sentence"&gt;All eleven confirmed without
 hesitation that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were willing and able to start
 deliberations anew.&lt;/span&gt; &lt;span data-paragraph-id="14652" data-sentence-id="15135" class="ldml-sentence"&gt;One juror even responded, &lt;span class="ldml-quotation quote"&gt;"I
 actually look forward to having the opportunity to go through
 it again with a new perspective, because it is so serious, I
 want to make

&lt;span class="ldml-pagenumber" data-val="13" data-id="pagenumber_15305" data-page_type="bare_number"&gt;&lt;/span&gt;
 sure &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'re doing our due diligence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14652" data-sentence-id="15344" class="ldml-sentence"&gt;Satisfied with
 each individual juror's affirmations, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; again
 instructed the reconstituted jury to begin deliberations
 anew.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15479" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="15479" data-sentence-id="15490" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15490"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At that time, Castro made a &lt;span class="ldml-entity"&gt;motion for a mistrial&lt;/span&gt;, which &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; denied.&lt;/span&gt; &lt;span data-paragraph-id="15479" data-sentence-id="15577" class="ldml-sentence"&gt;The jury then deliberated for
 approximately five and a half hours before returning guilty
 verdicts on both counts.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15694" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="15694" data-sentence-id="15705" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15705"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Castro appealed his conviction.&lt;/span&gt; &lt;span data-paragraph-id="15694" data-sentence-id="15742" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; argued that &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt; violated his right to a fair trial by an impartial jury
 when it replaced a regular juror with an alternate juror in
 the midst of deliberations.&lt;/span&gt; &lt;span data-paragraph-id="15694" data-sentence-id="15920" class="ldml-sentence"&gt;According to Castro, there could
 be no assurance of a just verdict when Juror W was allowed to
 intrude upon the deliberative process.&lt;/span&gt; &lt;span data-paragraph-id="15694" data-sentence-id="16056" class="ldml-sentence"&gt;In his view, such
 interference with the jury's deliberations raised a
 presumption of prejudice to his right to a fair trial, and
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s procedural precautions were
 insufficient under &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_16056"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_16056"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; to
 overcome that presumption.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16307" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16307" data-sentence-id="16318" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16318"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; countered that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; enjoyed
 discretion under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16318"&gt;&lt;span class="ldml-cite"&gt;section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to replace a regular juror
 with an alternate juror during deliberations; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the
 principles and precautions identified in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_16318"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_16318"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; guided the exercise of that discretion;
 and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; to the extent &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; erred due to an abuse of
 discretion, harmless error was the governing standard of
 reversal

&lt;span class="ldml-pagenumber" data-val="14" data-id="pagenumber_16727" data-page_type="bare_number"&gt;&lt;/span&gt;
 pursuant to &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_16318"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="16307" data-sentence-id="16747" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN5" class="ldml-noteanchor" id="note-ref-ftn.FN5"&gt;5&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; In the alternative, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;
 asserted that, if &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; prohibited the
 mid-deliberations substitution of a regular juror with an
 alternate juror, the only question on appeal was whether
 reversal was warranted, and here it wasn't because the
 error was harmless.&lt;/span&gt; &lt;span data-paragraph-id="16307" data-sentence-id="17021" class="ldml-sentence"&gt;Thus, under either position, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;
 nudged &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to use the outcome-determinative standard of
 reversal our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; applied in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_17021"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt;&lt;span data-paragraph-id="16307" data-sentence-id="17162" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN6" class="ldml-noteanchor" id="note-ref-ftn.FN6"&gt;6&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17165" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17165" data-sentence-id="17176" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17176"&gt;&lt;span class="ldml-cite"&gt;¶23
 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; unanimously affirmed in an
 unpublished opinion.&lt;/span&gt; &lt;span data-paragraph-id="17165" data-sentence-id="17265" class="ldml-sentence"&gt;The division first concluded that it did
 not need to pass judgment on the appropriate standard of
 review because it found no error under either the de novo
 standard urged by Castro or the abuse-of-discretion standard
 championed by &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17165" data-sentence-id="17512" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17265"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Castro&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;¶ 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17165" data-sentence-id="17526" class="ldml-sentence"&gt;It then
 turned to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_17526"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_17526"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 acknowledging that both supported &lt;span class="ldml-entity"&gt;the proposition&lt;/span&gt; that
 mid-deliberations juror substitution &lt;span class="ldml-quotation quote"&gt;"raises a
 presumption of prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to a
 fair trial, &lt;span class="ldml-parenthetical"&gt;[which]&lt;/span&gt; may be overcome"&lt;/span&gt; by adequate
 procedural precautions.&lt;/span&gt; &lt;span data-paragraph-id="17165" data-sentence-id="17803" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17526"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Castro&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;¶ 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alteration in original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_17526"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;775 P.2d
 at 588&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_17526"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 488&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="15" data-id="pagenumber_17915" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17915" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17915" data-sentence-id="17926" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17926"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But the division hastened to add that both &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt;
 and our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; have declined to apply the
 presumption-of-prejudice standard to determine whether
 reversal is warranted in the related factual situation in
 which an alternate juror is permitted to be present as a
 thirteenth juror during deliberations.&lt;/span&gt; &lt;span data-paragraph-id="17915" data-sentence-id="18247" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_18266,sentence_17926"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Castro&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;¶¶ 20-22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;first citing &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_17926"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United States v.
 Olano&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;507 U.S. 725, 737-39&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; and then citing
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_17926"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17926"&gt;&lt;span class="ldml-cite"&gt;¶ 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_17926"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17915" data-sentence-id="18381" class="ldml-sentence"&gt;The division
 noted that &lt;span class="ldml-entity"&gt;the Supreme Court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_18381"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; held that the
 mere presence of alternate jurors as extra jurors during
 deliberations should not be presumed prejudicial and should,
 instead, be subject to an outcome-determinative standard of
 reversal.&lt;/span&gt; &lt;span data-paragraph-id="17915" data-sentence-id="18639" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18381"&gt;&lt;span class="ldml-cite"&gt;at ¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_18381"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;507 U.S. at 737-39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17915" data-sentence-id="18688" class="ldml-sentence"&gt;Continuing, the division pointed out
 that our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; has likewise declined to presume prejudice and
 has applied an outcome-determinative standard of reversal to
 the presence &lt;span class="ldml-parenthetical"&gt;(and brief participation)&lt;/span&gt; of an alternate juror
 as a thirteenth juror during the very beginning of
 deliberations.&lt;/span&gt;&lt;span data-paragraph-id="17915" data-sentence-id="18979" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN7" class="ldml-noteanchor" id="note-ref-ftn.FN7"&gt;7&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18688"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 20-22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_18688"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18688"&gt;&lt;span class="ldml-cite"&gt;¶ 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_18688"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19037" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19037" data-sentence-id="19048" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19048"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 And, explained the division, both &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_19048"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_19048"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; reflect recent changes in the landscape of
 standards of reversal.&lt;/span&gt; &lt;span data-paragraph-id="19037" data-sentence-id="19171" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19048"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="19037" data-sentence-id="19184" class="ldml-sentence"&gt;Specifically, observed the

&lt;span class="ldml-pagenumber" data-val="16" data-id="pagenumber_19213" data-page_type="bare_number"&gt;&lt;/span&gt;
 division, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; has developed, and our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; has
 accepted, the structural error/trial error dichotomy:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_19331" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="19332" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[E]&lt;/span&gt;rrors in the trial process can require reversal in the
 absence of some determination of their likely impact on the
 outcome of the particular proceedings at issue only if &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 can be categorized as structural error, a limited class of
 errors described by &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; as including errors concerning
 rights protecting some interest other than &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;'s interest in not being erroneously convicted;
 errors the effects of which are too hard to measure, in the
 sense of being necessarily unquantifiable and indeterminate;
 and errors that can be said to always result in fundamental
 unfairness.&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="19937" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="19937" data-sentence-id="19938" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at
 339&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;em class="ldml-emphasis"&gt;.&lt;/em&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19983" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19983" data-sentence-id="19994" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19994"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Rather than resolve whether, post-&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_19994"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the
 presumption-of-prejudice standard marshaled by
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_19994"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_19994"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; continues to apply in
 Colorado to the mid-deliberations replacement of a regular
 juror with an alternate juror, the division assumed, as
 Castro contended, that it does.&lt;/span&gt; &lt;span data-paragraph-id="19983" data-sentence-id="20287" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19994"&gt;&lt;span class="ldml-cite"&gt;at ¶¶
 22-23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_19994"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19994"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_19994"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="19983" data-sentence-id="20344" class="ldml-sentence"&gt;Accordingly, the division applied the lessons of
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_20344"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_20344"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; without deciding
 whether to extend &lt;span class="ldml-entity"&gt;the holding in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_20344"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; to
 mid-deliberations juror substitution.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20515" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20515" data-sentence-id="20526" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20526"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The division then determined that any presumption of
 prejudice caused by the substitution of Juror C with Juror W
 &lt;span class="ldml-quotation quote"&gt;"was adequately rebutted by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s
 precautions coupled with the other circumstances of &lt;span class="ldml-entity"&gt;this
 case&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20515" data-sentence-id="20759" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20526"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20515" data-sentence-id="20772" class="ldml-sentence"&gt;Thus, ruled the
 division, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had not erred in making this
 substitution.&lt;/span&gt; &lt;span data-paragraph-id="20515" data-sentence-id="20859" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20859"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.

&lt;span class="ldml-pagenumber" data-val="17" data-id="pagenumber_20874" data-page_type="bare_number"&gt;&lt;/span&gt;
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20859"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Castro now asks &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; resolve the standard of review for
 &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s mid-deliberations substitution of a
 regular juror with an alternate juror; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; address
 whether the division erred by applying the
 presumption-of-prejudice standard of reversal, rather than
 the constitutional harmless error standard of reversal.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="analysis" data-parsed="true" data-id="heading_21221" data-format="upper_case_roman_numeral" data-content-heading-label="
 II.
Analysis
" data-specifier="II" data-ordinal_start="2" data-ordinal_end="2" id="heading_21221" data-confidences="very_high" data-value="II.
 Analysis"&gt;&lt;span data-paragraph-id="21221" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="21221" data-sentence-id="21232" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="21221" data-sentence-id="21236" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 A.
Authority to Replace a Regular Juror with an Alternate Juror
 After Deliberations Have Begun
" data-parsed="true" data-id="heading_21245" data-format="upper_case_letters" data-specifier="A" data-ordinal_start="1" data-ordinal_end="1" id="heading_21245" data-value="A.
 Authority to Replace a Regular Juror with an Alternate Juror
 After Deliberations Have Begun"&gt;&lt;span data-paragraph-id="21245" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="21245" data-sentence-id="21256" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="21245" data-sentence-id="21259" class="ldml-sentence"&gt;Authority to Replace a Regular Juror with an Alternate Juror
 After Deliberations Have Begun&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="21352" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="21352" data-sentence-id="21363" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21363"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Whether &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; may replace a regular juror with an
 alternate juror after deliberations have begun is
 &lt;span class="ldml-quotation quote"&gt;"necessarily predicated"&lt;/span&gt; on whether &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;
 has discretion to require an alternate to remain available
 after the jury has retired to deliberate.&lt;/span&gt; &lt;span data-paragraph-id="21352" data-sentence-id="21633" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_21363"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;974 P.2d at 488&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21352" data-sentence-id="21661" class="ldml-sentence"&gt;Two legal sources—a rule and &lt;span class="ldml-entity"&gt;a
 statute&lt;/span&gt;—guide &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; with regard to the discharge
 of jurors.&lt;/span&gt; &lt;span data-paragraph-id="21352" data-sentence-id="21761" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21661"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 24&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21661"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21794" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="21794" data-sentence-id="21805" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21805"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21805"&gt;&lt;span class="ldml-cite"&gt;Colorado Rule of Criminal Procedure 24&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; instructs &lt;span class="ldml-entity"&gt;courts&lt;/span&gt;
 not to discharge the alternate &lt;span class="ldml-quotation quote"&gt;"until the jury renders
 its verdict &lt;em class="ldml-emphasis"&gt;or until such time as determined by &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt;&lt;/em&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21794" data-sentence-id="21986" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21794" data-sentence-id="22004" class="ldml-sentence"&gt;Such language gives
 &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; the authority to retain alternate jurors and call on
 them, if necessary, to replace regular jurors during
 deliberations.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="22155" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="22155" data-sentence-id="22166" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22166"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But the language of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; is no paragon of clarity,
 raising questions about whether it affords the same
 authority.&lt;/span&gt; &lt;span data-paragraph-id="22155" data-sentence-id="22294" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22294"&gt;&lt;span class="ldml-cite"&gt;Section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; states,&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="18" data-id="pagenumber_22320" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_22320" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="22321" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; may direct that a sufficient number of jurors in
 addition to the regular jury be called and impaneled to sit
 as alternate jurors.&lt;/span&gt; &lt;span data-sentence-id="22463" class="ldml-sentence"&gt;Alternate jurors in the order in which
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are called &lt;em class="ldml-emphasis"&gt;shall replace jurors who, prior to the
 time the jury retires to consider its verdict, become unable
 or disqualified to perform their duties&lt;/em&gt;.&lt;/span&gt; &lt;span data-sentence-id="22662" class="ldml-sentence"&gt;Alternate
 jurors shall be drawn in the same manner, shall have the same
 qualifications, shall be subject to the same examination and
 challenges, shall take the same oath, and shall have the same
 functions, powers, facilities, and privileges as the regular
 jurors.&lt;/span&gt; &lt;span data-sentence-id="22931" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;An alternate juror shall be discharged when the
 jury retires to consider its verdict or at such time as
 determined by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;&lt;/em&gt;.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="23062" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="23062" data-sentence-id="23063" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphases added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23081" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23081" data-sentence-id="23092" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23092"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; disagree over whether the rule or &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;
 controls.&lt;/span&gt; &lt;span data-paragraph-id="23081" data-sentence-id="23165" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_23165"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, however, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; stated that the
 timing of discharging alternates &lt;span class="ldml-quotation quote"&gt;"is a matter of
 substance and not merely a matter of &lt;span class="ldml-entity"&gt;court&lt;/span&gt; procedure, &lt;span class="ldml-parenthetical"&gt;[and
 thus]&lt;/span&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; look to &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;, which controls."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23081" data-sentence-id="23364" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_23165"&gt;&lt;span class="ldml-cite"&gt;974 P.2d
 at 488&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23081" data-sentence-id="23382" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conform to that holding today and accordingly turn
 our focus to &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23463" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23463" data-sentence-id="23474" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23474"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The paramount rule of statutory interpretation is to
 effectuate &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s intent by giving the
 language of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; its plain and ordinary meaning.&lt;/span&gt;
&lt;span data-paragraph-id="23463" data-sentence-id="23640" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/901097277" data-vids="901097277" class="ldml-reference" data-prop-ids="sentence_23474"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Weeks&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2021 CO 75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23474"&gt;&lt;span class="ldml-cite"&gt;¶ 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/901097277" data-vids="901097277" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;498 P.3d
 142, 151&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23463" data-sentence-id="23695" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Appellate courts&lt;/span&gt; must read &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; as a whole,
 aiming to give consistent, harmonious, and sensible effect to
 all of its parts.&lt;/span&gt; &lt;span data-paragraph-id="23463" data-sentence-id="23826" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894222265" data-vids="894222265" class="ldml-reference" data-prop-ids="sentence_23695"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Whitaker v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;48 P.3d 555,
 558&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23878" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23878" data-sentence-id="23889" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23889"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23889"&gt;&lt;span class="ldml-cite"&gt;Section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; defies such straightforward construction.&lt;/span&gt;
&lt;span data-paragraph-id="23878" data-sentence-id="23953" class="ldml-sentence"&gt;While the plain language of the second sentence suggests that
 &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; may substitute regular jurors with alternate
 jurors only prior to deliberations, the plain language of the
 fourth sentence implies just the opposite—that &lt;span class="ldml-entity"&gt;trial
 courts&lt;/span&gt; have the discretion &lt;span class="ldml-quotation quote"&gt;"to

&lt;span class="ldml-pagenumber" data-val="19" data-id="pagenumber_24226" data-page_type="bare_number"&gt;&lt;/span&gt;
 substitute alternates at a later stage of the proceedings,
 including once deliberations have started."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="23878" data-sentence-id="24332" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_23953"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 489&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23878" data-sentence-id="24359" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;
 ambiguous on the question of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s authority&lt;/span&gt; to
 replace a regular juror with an alternate juror during
 deliberations.&lt;/span&gt; &lt;span data-paragraph-id="23878" data-sentence-id="24516" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_24359"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895657155" data-vids="895657155" class="ldml-reference" data-prop-ids="sentence_24359"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Elder v.
 Williams&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2020 CO 88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24359"&gt;&lt;span class="ldml-cite"&gt;¶ 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895657155" data-vids="895657155" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;477 P.3d 694, 698&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"A &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; is ambiguous when it is reasonably
 susceptible of multiple interpretations."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24678" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24678" data-sentence-id="24689" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24689"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But this is hardly breaking news.&lt;/span&gt; &lt;span data-paragraph-id="24678" data-sentence-id="24728" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reached the same
 &lt;span class="ldml-entity"&gt;conclusion in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_24728"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; in &lt;span class="ldml-entity"&gt;1999&lt;/span&gt;, a quarter of a
 century ago, and &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; hasn't deemed fit to
 clarify the internal inconsistency in &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24678" data-sentence-id="24903" class="ldml-sentence"&gt;So, as in
 &lt;span class="ldml-entity"&gt;1999&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are stuck with the ambiguity.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24953" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24953" data-sentence-id="24964" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24964"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Of course, when, as here, the plain language of &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt;
 contains a latent ambiguity, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; may determine the
 intent of the General Assembly by considering &lt;span class="ldml-entity"&gt;the
 statute&lt;/span&gt;'s legislative history.&lt;/span&gt; &lt;span data-paragraph-id="24953" data-sentence-id="25169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888654608" data-vids="888654608" class="ldml-reference" data-prop-ids="sentence_24964"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Rowe v. People&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;856 P.2d 486, 489&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24953" data-sentence-id="25218" class="ldml-sentence"&gt;Here, however, such history
 only muddies the waters further, so it is of no help to &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="24953" data-sentence-id="25307" class="ldml-sentence"&gt;If this sounds a bit like a broken record, it should:
 &lt;span class="ldml-entity"&gt;We&lt;/span&gt;'ve sung this tune before—in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_25307"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="24953" data-sentence-id="25403" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_25307"&gt;&lt;span class="ldml-cite"&gt;974 P.2d at 489&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24953" data-sentence-id="25424" class="ldml-sentence"&gt;But the lyrics &lt;span class="ldml-entity"&gt;we&lt;/span&gt; belted out in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_25424"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; have gone as unnoticed as the thud of a
 tree falling in the forest when nobody is around to hear it.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="20" data-id="pagenumber_25568" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25568" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25568" data-sentence-id="25579" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25579"&gt;&lt;span class="ldml-cite"&gt;¶37
 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; look at the statutory history is helpful in understanding
 the genesis of the ambiguity &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ve been saddled with for
 more than thirty years.&lt;/span&gt;&lt;span data-paragraph-id="25568" data-sentence-id="25726" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN8" class="ldml-noteanchor" id="note-ref-ftn.FN8"&gt;8&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; While &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;'s second sentence
 has remained intact over the years, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;'s fourth
 sentence has weathered two changings of the tide.&lt;/span&gt;
&lt;span data-paragraph-id="25568" data-sentence-id="25874" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25726"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25568" data-sentence-id="25878" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; thus turn our attention to the fourth
 sentence.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25930" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25930" data-sentence-id="25941" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25941"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Before &lt;span class="ldml-entity"&gt;1990&lt;/span&gt;, the fourth sentence required that an alternate
 juror be discharged at the time the jury retires to consider
 its verdict.&lt;/span&gt; &lt;span data-paragraph-id="25930" data-sentence-id="26082" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25941"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-105,8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25930" data-sentence-id="26112" class="ldml-sentence"&gt;Then, in
 &lt;span class="ldml-entity"&gt;1990&lt;/span&gt;, swept in by a wave of response to two mistrials caused
 by the incapacitation of jurors in the midst of
 deliberations, our General Assembly amended the fourth
 sentence.&lt;/span&gt; &lt;span data-paragraph-id="25930" data-sentence-id="26299" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_26112"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 489&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25930" data-sentence-id="26326" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;1990&lt;/span&gt;
&lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;&lt;/span&gt;, an alternate juror could not be discharged
 &lt;span class="ldml-quotation quote"&gt;"until the jury render &lt;span class="ldml-parenthetical"&gt;[ed]&lt;/span&gt; its verdict or until such
 time as determined by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25930" data-sentence-id="26485" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26326"&gt;&lt;span class="ldml-cite"&gt;Ch. 117, sec. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26326"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26326"&gt;&lt;span class="ldml-cite"&gt;1990 Colo. Sess. Laws 923, 924&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="21" data-id="pagenumber_26546" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26546" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26546" data-sentence-id="26557" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26557"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The &lt;span class="ldml-entity"&gt;1990&lt;/span&gt; &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;&lt;/span&gt;, however, created a different problem
 —many &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; could not properly sequester
 alternate jurors throughout the deliberations.&lt;/span&gt;&lt;span data-paragraph-id="26546" data-sentence-id="26714" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN9" class="ldml-noteanchor" id="note-ref-ftn.FN9"&gt;9&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_26557"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 489&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26546" data-sentence-id="26744" class="ldml-sentence"&gt;Believing that the
 pendulum had swung too far the other way, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;
 reacted the following year &lt;span class="ldml-parenthetical"&gt;(in &lt;span class="ldml-entity"&gt;1991&lt;/span&gt;)&lt;/span&gt;, and the tide changed
 again, this time flowing back out in an apparent attempt to
 return things to the way &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were prior to &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;1990&lt;/span&gt;
&lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26546" data-sentence-id="27008" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_26744"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26546" data-sentence-id="27012" class="ldml-sentence"&gt;But while the operative language of
 &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;1991&lt;/span&gt; &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;&lt;/span&gt; revived the pre-&lt;span class="ldml-entity"&gt;1990&lt;/span&gt; rigid requirement
 that an alternate juror &lt;span class="ldml-quotation quote"&gt;"be discharged when the jury
 retires to consider its verdict,"&lt;/span&gt; it also added the
 equivocal phrase &lt;span class="ldml-quotation quote"&gt;"or at such time as determined by &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26546" data-sentence-id="27279" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27012"&gt;&lt;span class="ldml-cite"&gt;Ch. 80, sec. 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27012"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27012"&gt;&lt;span class="ldml-cite"&gt;1991 Colo.
 Sess. Laws 428, 429-30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;see also&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27012"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-105,
 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26546" data-sentence-id="27382" class="ldml-sentence"&gt;With these flummoxing edits, ambiguity was
 sown, and that ambiguity continues to blossom in &lt;span class="ldml-entity"&gt;2024&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27481" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="27481" data-sentence-id="27492" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27492"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Not surprisingly, divisions of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; have
 disagreed over whether &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;1991&lt;/span&gt; &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;&lt;/span&gt; gives &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt;
 the discretion to delay the discharge of an alternate juror
 once deliberations commence.&lt;/span&gt; &lt;span data-paragraph-id="27481" data-sentence-id="27707" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;Compare&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890011629" data-vids="890011629" class="ldml-reference" data-prop-ids="sentence_27492"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Montoya&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;942 P.2d 1287, 1295&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that, like the pre-&lt;span class="ldml-entity"&gt;1990&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="22" data-id="pagenumber_27808" data-page_type="bare_number"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;1991&lt;/span&gt; &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;&lt;/span&gt; requires &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; to dismiss
 alternate jurors at the start of deliberations)&lt;/span&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;with
 &lt;/em&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888493148" data-vids="888493148" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;946 P.2d 544, 549&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1997&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(concluding that &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;1991&lt;/span&gt; &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;&lt;/span&gt; returned things to their
 pre-&lt;span class="ldml-entity"&gt;1990&lt;/span&gt; state &lt;span class="ldml-quotation quote"&gt;"with one important addition: &lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;trial
 court&lt;/span&gt; in its discretion may dismiss the alternate at a
 different time"&lt;/span&gt; than when the jury retires to
 deliberate)&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-cert"&gt;affd on other grounds&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:974p2dat480"&gt;&lt;span class="ldml-cite"&gt;974 P.2d at 480&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="27481" data-sentence-id="28257" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This court&lt;/span&gt;, however, has determined it unnecessary to crack
 this conundrum because, regardless of the answer, a
 mid-deliberations juror substitution &lt;span class="ldml-quotation quote"&gt;"raises a
 presumption of prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to a
 fair trial."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27481" data-sentence-id="28488" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_28257"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Carrillo&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;974 P.2d at 490&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28515" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="28515" data-sentence-id="28526" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28526"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Today, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; stick to the course chartered by &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_28526"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="28515" data-sentence-id="28584" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; echo what &lt;span class="ldml-entity"&gt;we&lt;/span&gt; said there: Whether statutory authority
 for mid-deliberations juror substitutions exists or not, the
 presumption of prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to a
 fair trial applies.&lt;/span&gt;&lt;span data-paragraph-id="28515" data-sentence-id="28784" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN10" class="ldml-noteanchor" id="note-ref-ftn.FN10"&gt;10&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28787" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="28787" data-sentence-id="28798" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28798"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 True, as Castro reminds &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, our jurisprudence regarding the
 mid-deliberations presence of an alternate juror as a
 thirteenth juror has progressed since &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_28798"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_28798"&gt;&lt;span class="ldml-refname"&gt;James&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28798"&gt;&lt;span class="ldml-cite"&gt;¶¶ 13-15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_28798"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 339-40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; followed &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_28798"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, not &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_28798"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_28798"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28787" data-sentence-id="29058" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; demonstrate next, however, that line of
 &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; is inapposite.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="23" data-id="pagenumber_29126" data-page_type="bare_number"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="28787" data-sentence-id="29127" class="ldml-sentence"&gt;Our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; on the replacement of a regular juror with an
 alternate juror mid-deliberations represents a different and
 distinguishable evolutionary branch.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 B.
Evolution of Two Lines of Deliberations Cases: The Presence
 of an Alternate Juror and the Replacement of a Regular Juror
 with an Alternate Juror
" data-parsed="true" data-id="heading_29286" data-format="upper_case_letters" data-specifier="B" data-ordinal_start="2" data-ordinal_end="2" id="heading_29286" data-value="B.
 Evolution of Two Lines of Deliberations Cases: The Presence
 of an Alternate Juror and the Replacement of a Regular Juror
 with an Alternate Juror"&gt;&lt;span data-paragraph-id="29286" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="29286" data-sentence-id="29297" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="29286" data-sentence-id="29300" class="ldml-sentence"&gt;Evolution of Two Lines of Deliberations &lt;span class="ldml-entity"&gt;Cases&lt;/span&gt;: The Presence
 of an Alternate Juror and the Replacement of a Regular Juror
 with an Alternate Juror&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="29447" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29447" data-sentence-id="29458" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29458"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Our &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; addressing the mid-deliberations &lt;em class="ldml-emphasis"&gt;presence&lt;/em&gt;
 of an alternate juror as a thirteenth juror share a common
 ancestor with our &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; addressing the mid-deliberations
 &lt;em class="ldml-emphasis"&gt;substitution&lt;/em&gt; of a regular juror with an alternate
 juror.&lt;/span&gt; &lt;span data-paragraph-id="29447" data-sentence-id="29692" class="ldml-sentence"&gt;Over time, however, &lt;span class="ldml-entity"&gt;these cases&lt;/span&gt; have evolved into two
 distinct lineages.&lt;/span&gt; &lt;span data-paragraph-id="29447" data-sentence-id="29766" class="ldml-sentence"&gt;To understand these distinguishable but
 related case species, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must trace their evolution.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29860" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29860" data-sentence-id="29871" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29871"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin with the grandfather of both evolutionary branches,
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_29871"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;690 P.2d at 1254-55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which gave birth to
 the presumption-of-prejudice analysis.&lt;/span&gt; &lt;span data-paragraph-id="29860" data-sentence-id="30027" class="ldml-sentence"&gt;There, the trial judge
 gave the alternate juror permission to &lt;span class="ldml-quotation quote"&gt;"go in and
 listen"&lt;/span&gt; to the deliberations so long as &lt;span class="ldml-entity"&gt;she&lt;/span&gt; remained
 silent and did not vote.&lt;/span&gt; &lt;span data-paragraph-id="29860" data-sentence-id="30181" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_30027"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1255&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29860" data-sentence-id="30194" class="ldml-sentence"&gt;Following the
 jury's guilty verdicts and an unsuccessful direct appeal,
 Boulies sought and received postconviction relief on the
 ground that an unauthorized person &lt;span class="ldml-parenthetical"&gt;(a thirteenth juror)&lt;/span&gt; had
 been present in the jury room during deliberations.&lt;/span&gt;
&lt;span data-paragraph-id="29860" data-sentence-id="30439" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_30194"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1254&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29860" data-sentence-id="30452" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; appealed to our &lt;span class="ldml-entity"&gt;court&lt;/span&gt;, and
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; vacated the postconviction order and remanded &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for
 an evidentiary hearing to determine whether the alternate
 juror had actually retired with the regular jurors to
 deliberate.&lt;/span&gt; &lt;span data-paragraph-id="29860" data-sentence-id="30680" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_30452"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1255&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="24" data-id="pagenumber_30693" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="30693" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30693" data-sentence-id="30704" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30704"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_30704"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; involved an issue of first
 impression, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; took the opportunity to clarify that the
 presence of a thirteenth juror during deliberations violates
 both &lt;span class="ldml-quotation quote"&gt;"the cardinal principle that the deliberations of
 the jury shall remain private and secret in every case,"&lt;/span&gt;
&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_30704"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt; at 1256&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894762160" data-vids="894762160" class="ldml-reference" data-prop-ids="sentence_30704"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United States v. Va.
 Erection Corp.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;335 F.2d 868, 872&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;4th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1964&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, and
 the &lt;span class="ldml-quotation quote"&gt;"fundamental right to a jury trial free from the
 intrusion of non-jurors,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_30704"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30693" data-sentence-id="31169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; didn't
 stop there; of particular interest here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; went on to reject
 &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s position that, even assuming the alternate
 was present during deliberations, Boulies was required to
 establish &lt;span class="ldml-quotation quote"&gt;"that the alternate had some effect on those
 deliberations."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30693" data-sentence-id="31431" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_31169"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1255&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30693" data-sentence-id="31444" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 articulated the principle that became the very DNA of these
 deliberations &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;: &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;e view the presence of an
 alternate juror during the jury's deliberations as
 sufficiently impinging upon &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s
 constitutional right to a jury trial &lt;em class="ldml-emphasis"&gt;to create a
 presumption of prejudice&lt;/em&gt; that, if not rebutted, requires
 reversal."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30693" data-sentence-id="31786" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_31444"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1255-56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30693" data-sentence-id="31819" class="ldml-sentence"&gt;To
 rebut the presumption, &lt;span class="ldml-entity"&gt;&lt;em class="ldml-emphasis"&gt;we&lt;/em&gt;&lt;/span&gt; said, &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; must produce
 evidence establishing that the error was harmless beyond a
 reasonable doubt.&lt;/span&gt; &lt;span data-paragraph-id="30693" data-sentence-id="31955" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_31819"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1256 n.5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31972" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="31972" data-sentence-id="31983" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31983"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; took its next evolutionary step with
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_31983"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which extended the
 presumption-of-prejudice analysis to situations in which a
 regular juror is replaced with an alternate juror in the
 middle of deliberations.&lt;/span&gt; &lt;span data-paragraph-id="31972" data-sentence-id="32212" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_31983"&gt;&lt;span class="ldml-cite"&gt;775 P.2d at 590&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31972" data-sentence-id="32229" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;, the
 jury deliberated for four and a half hours and then recessed
 for the

&lt;span class="ldml-pagenumber" data-val="25" data-id="pagenumber_32320" data-page_type="bare_number"&gt;&lt;/span&gt;
 day.&lt;/span&gt; &lt;span data-paragraph-id="31972" data-sentence-id="32327" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_32229"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 585&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31972" data-sentence-id="32339" class="ldml-sentence"&gt;A severe snowstorm moved in
 overnight and snowed in one of the regular jurors, which
 prompted &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to recall the alternate juror.&lt;/span&gt;
&lt;span data-paragraph-id="31972" data-sentence-id="32476" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_32339"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="31972" data-sentence-id="32480" class="ldml-sentence"&gt;The reconstituted jury found Burnette guilty,
 but a division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; reversed based on &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt;'s failure to take adequate precautionary
 steps to guard against prejudice to Burnette as a result of
 the juror substitution.&lt;/span&gt; &lt;span data-paragraph-id="31972" data-sentence-id="32728" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_32480"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31972" data-sentence-id="32740" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agreed with
 the division and affirmed.&lt;/span&gt; &lt;span data-paragraph-id="31972" data-sentence-id="32783" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_32740"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 585&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31972" data-sentence-id="32795" class="ldml-sentence"&gt;Perhaps most
 notably, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; laid out a set of principles that began to fill
 in the distinct phenotype of mid-deliberations
 juror-substitution &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32944" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="32944" data-sentence-id="32955" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32955"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Recognizing that the mid-deliberations substitution of a
 regular juror with an alternate juror implicates unique
 sources of potential prejudice, our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; voiced concern for
 the &lt;span class="ldml-quotation quote"&gt;"real danger"&lt;/span&gt; that the alternate juror &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"will not have a realistic opportunity to express his
 views and to persuade others"&lt;/span&gt;; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"will not have
 been part of the dynamics of the prior deliberations"&lt;/span&gt;;
 and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; will not &lt;span class="ldml-quotation quote"&gt;"have had the benefit of the
 unavailable juror's views."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32944" data-sentence-id="33421" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_32955"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 588&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32944" data-sentence-id="33433" class="ldml-sentence"&gt;In
 addition, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; worried that &lt;span class="ldml-quotation quote"&gt;"a lone juror who cannot in
 good conscience vote for conviction might be under great
 pressure to feign illness in order to place the burden of
 decision on an alternate."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32944" data-sentence-id="33636" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_33433"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32944" data-sentence-id="33640" class="ldml-sentence"&gt;Borrowing from
 &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; involving the mid-deliberations presence of an
 alternate juror as a thirteenth juror, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; determined that
 these risks warranted a presumption of prejudice.&lt;/span&gt;
&lt;span data-paragraph-id="32944" data-sentence-id="33819" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_33640"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 590&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32944" data-sentence-id="33831" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;we&lt;/span&gt; concluded that in the context of
 the mid-deliberations substitution of a regular

&lt;span class="ldml-pagenumber" data-val="26" data-id="pagenumber_33922" data-page_type="bare_number"&gt;&lt;/span&gt;
 juror with an alternate juror, such a presumption could be
 overcome only if &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; took &lt;span class="ldml-quotation quote"&gt;"extraordinary
 precautions"&lt;/span&gt; to ensure &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; would not be
 prejudiced and if those precautions achieved the intended
 result.&lt;/span&gt;&lt;span data-paragraph-id="32944" data-sentence-id="34153" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN11" class="ldml-noteanchor" id="note-ref-ftn.FN11"&gt;11&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_33831"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="34160" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="34160" data-sentence-id="34171" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34171"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Four years after &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decided &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_34171"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Supreme
 Court&lt;/span&gt; dealt with &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; involving the &lt;span class="ldml-quotation quote"&gt;"mere
 presence"&lt;/span&gt; of alternate jurors as extra jurors during
 deliberations.&lt;/span&gt; &lt;span data-paragraph-id="34160" data-sentence-id="34341" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_34171"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;507 U.S. at 740-41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34160" data-sentence-id="34368" class="ldml-sentence"&gt;And while
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_34368"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is obviously not an offspring of
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_34368"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; discuss it here because it impacted one
 of the two evolutionary branches that sprouted from
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_34368"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="34534" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="34534" data-sentence-id="34545" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34545"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The trial court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_34545"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; allowed two alternate
 jurors to attend deliberations so long as &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did not
 participate.&lt;/span&gt; &lt;span data-paragraph-id="34534" data-sentence-id="34666" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_34545"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 729&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34534" data-sentence-id="34678" class="ldml-sentence"&gt;As our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; had done in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_34678"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Supreme Court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_34678"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
 acknowledged that the presence of alternate jurors during
 deliberations contravenes &lt;span class="ldml-quotation quote"&gt;"the cardinal principle"&lt;/span&gt;
 that deliberations &lt;span class="ldml-quotation quote"&gt;"remain private and secret."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="34534" data-sentence-id="34900" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="embeddedsentence_34924,sentence_34678"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;507 U.S. at 737&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34678"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Crim. P.
 23&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; advisory committee's note to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;1983&lt;/span&gt; &lt;span class="ldml-entity"&gt;amendments&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;accord&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_34678"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;690 P.2d at 1256&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34534" data-sentence-id="35037" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;the
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_35037"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Court&lt;/span&gt; emphasized that the &lt;span class="ldml-quotation quote"&gt;"primary"&lt;/span&gt;
 purpose of this principle &lt;span class="ldml-quotation quote"&gt;"is

&lt;span class="ldml-pagenumber" data-val="27" data-id="pagenumber_35121" data-page_type="bare_number"&gt;&lt;/span&gt;
 to protect the jury's deliberations from improper
 influence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="34534" data-sentence-id="35186" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_35037"&gt;&lt;span class="ldml-cite"&gt;507 U.S. at 737-38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34534" data-sentence-id="35206" class="ldml-sentence"&gt;And because &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt; there had instructed the alternates not to participate
 in deliberations, an instruction the law assumed &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 followed, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; declined to presume prejudice to
 Olano and his codefendant.&lt;/span&gt; &lt;span data-paragraph-id="34534" data-sentence-id="35435" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_35206"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 740&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34534" data-sentence-id="35447" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;these
 circumstances&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; reasoned that the mere presence of
 the alternates did not taint the deliberations with outside
 influence.&lt;/span&gt; &lt;span data-paragraph-id="34534" data-sentence-id="35593" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="embeddedsentence_35605,sentence_35447"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 739&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; the alternates'
 presence was substantively similar to &lt;span class="ldml-quotation quote"&gt;"the presence in
 the juryroom of an unexamined book"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34534" data-sentence-id="35723" class="ldml-sentence"&gt;Thus, rather than
 apply the presumption-of-prejudice standard of reversal, &lt;span class="ldml-entity"&gt;the
 Court&lt;/span&gt; applied the outcome-determinative standard of reversal
 governing unpreserved errors &lt;span class="ldml-parenthetical"&gt;(plain error)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34534" data-sentence-id="35910" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_35723"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at
 741&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35923" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="35923" data-sentence-id="35934" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35934"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Importantly, though, &lt;span class="ldml-entity"&gt;the Court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_35934"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; cautioned
 that the presence of an alternate during deliberations may
 prejudice &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; in some circumstances.&lt;/span&gt; &lt;span data-paragraph-id="35923" data-sentence-id="36097" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_35934"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;
 at 739&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35923" data-sentence-id="36110" class="ldml-sentence"&gt;More specifically, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; identified two ways in
 which such prejudice might occur: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; if the alternate
 &lt;span class="ldml-quotation quote"&gt;"actually participate&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; in the deliberations, verbally
 or through &lt;span class="ldml-quotation quote"&gt;'body language'&lt;/span&gt;"&lt;/span&gt;; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; if the
 alternate's &lt;span class="ldml-quotation quote"&gt;"presence exert&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; a &lt;span class="ldml-quotation quote"&gt;'chilling'&lt;/span&gt;
 effect on the regular jurors."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35923" data-sentence-id="36397" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_36110"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="36401" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36401" data-sentence-id="36412" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36412"&gt;&lt;span class="ldml-cite"&gt;¶51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Mindful of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_36412"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; circle back now to the two
 evolutionary branches that grew from
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_36412"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;—specifically, the tips of those
 branches &lt;span class="ldml-parenthetical"&gt;(the youngest descendants of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_36412"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="36401" data-sentence-id="36593" class="ldml-sentence"&gt;Since &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_36593"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; has decided two &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; of key
 import—one involving the mid-deliberations substitution
 of a regular juror with

&lt;span class="ldml-pagenumber" data-val="28" data-id="pagenumber_36729" data-page_type="bare_number"&gt;&lt;/span&gt;
 an alternate juror, and the other involving the
 mid-deliberations presence of an alternate juror as a
 thirteenth juror.&lt;/span&gt; &lt;span data-paragraph-id="36401" data-sentence-id="36853" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_36593"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 488&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_36593"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36593"&gt;&lt;span class="ldml-cite"&gt;¶ 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 337&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="36401" data-sentence-id="36913" class="ldml-sentence"&gt;These two case
 types applied different standards of reversal.&lt;/span&gt; &lt;span data-paragraph-id="36401" data-sentence-id="36976" class="ldml-sentence"&gt;A close
 inspection of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_36976"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_36976"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; highlights
 the utility of their dual methodologies — each
 applicable in a different factual context.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="37121" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="37121" data-sentence-id="37132" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37132"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The jury in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_37132"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; deliberated for a little over
 four hours and then returned guilty verdicts on all the
 charges brought against Carrillo and his codefendant.&lt;/span&gt; &lt;span data-paragraph-id="37121" data-sentence-id="37300" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_37132"&gt;&lt;span class="ldml-cite"&gt;974
 P.2d at 488&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37121" data-sentence-id="37318" class="ldml-sentence"&gt;But as &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; polled the jurors
 individually, one juror said that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; found Carrillo not
 guilty of one of the charges.&lt;/span&gt; &lt;span data-paragraph-id="37121" data-sentence-id="37447" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_37318"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37121" data-sentence-id="37451" class="ldml-sentence"&gt;Because one of the
 verdicts was not unanimous, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; ordered the jury to
 return to the deliberations room and reconsider all the
 verdicts.&lt;/span&gt; &lt;span data-paragraph-id="37121" data-sentence-id="37597" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_37451"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 482-83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37121" data-sentence-id="37612" class="ldml-sentence"&gt;Within an hour, the jury
 sent &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; a note indicating that it had &lt;span class="ldml-quotation quote"&gt;"come to
 believe"&lt;/span&gt; that the holdout juror &lt;span class="ldml-quotation quote"&gt;"did not hear all
 of the testimony, does not fully understand all of the
 charges and instructions, and did not hear some discussion in
 deliberations."&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="37121" data-sentence-id="37878" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN12" class="ldml-noteanchor" id="note-ref-ftn.FN12"&gt;12&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_37878"&gt;&lt;span class="ldml-cite"&gt;at 483&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37121" data-sentence-id="37892" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;these
 circumstances&lt;/span&gt;, observed the jury, it did not believe it could
 render a unanimous verdict.&lt;/span&gt; &lt;span data-paragraph-id="37121" data-sentence-id="37996" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_37892"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37121" data-sentence-id="38000" class="ldml-sentence"&gt;Over Carrillo's
 and his codefendant's objections, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; replaced the
 holdout juror with an alternate juror.&lt;/span&gt; &lt;span data-paragraph-id="37121" data-sentence-id="38114" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_38000"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 483&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="37121" data-sentence-id="38126" class="ldml-sentence"&gt;The

&lt;span class="ldml-pagenumber" data-val="29" data-id="pagenumber_38132" data-page_type="bare_number"&gt;&lt;/span&gt;
 reconstituted jury then deliberated for more than six hours
 and returned unanimous guilty verdicts on all the charges.&lt;/span&gt;
&lt;span data-paragraph-id="37121" data-sentence-id="38254" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_38126"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 484&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="38266" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="38266" data-sentence-id="38277" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38277"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On review, our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; cautioned that &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; raised the
 &lt;span class="ldml-quotation quote"&gt;"specter"&lt;/span&gt; of the dangers first warned of in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_38277"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38266" data-sentence-id="38394" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_38277"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 491&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38266" data-sentence-id="38406" class="ldml-sentence"&gt;For one, there was
 the risk that a lone juror might feign illness to be relieved
 of any decision-making responsibility.&lt;/span&gt; &lt;span data-paragraph-id="38266" data-sentence-id="38528" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_38406"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38266" data-sentence-id="38532" class="ldml-sentence"&gt;There was
 also the concern that, following the substitution of the
 holdout juror, the eleven remaining regular jurors would be
 unable to set their previous deliberations aside and start
 deliberating anew.&lt;/span&gt; &lt;span data-paragraph-id="38266" data-sentence-id="38741" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_38532"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 491-92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38266" data-sentence-id="38756" class="ldml-sentence"&gt;And there was the
 peril that the dismissal of the holdout juror might be
 misinterpreted as indicative of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s views&lt;/span&gt; on the
 merits of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;—i.e., that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; believed the
 holdout juror had reached the wrong result.&lt;/span&gt; &lt;span data-paragraph-id="38266" data-sentence-id="38987" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_38756"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at
 491&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38266" data-sentence-id="39000" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reiterated what &lt;span class="ldml-entity"&gt;we&lt;/span&gt; said in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_39000"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;: In
 situations in which an alternate juror replaces a regular
 juror during deliberations, the presumption of prejudice may
 be rebutted only under unusual circumstances.&lt;/span&gt; &lt;span data-paragraph-id="38266" data-sentence-id="39211" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_39000"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at
 492&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="39224" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="39224" data-sentence-id="39235" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39235"&gt;&lt;span class="ldml-cite"&gt;¶54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Elaborating, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; declared that adherence to the
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_39235"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; precautions provides the requisite
 protection to overcome the presumption of prejudice.&lt;/span&gt;
&lt;span data-paragraph-id="39224" data-sentence-id="39386" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_39235"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39224" data-sentence-id="39390" class="ldml-sentence"&gt;And, chaperoned by &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_39390"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; found
 that the presumption had been rebutted there by &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;'s diligence in &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; informing the alternate juror at
 the end of the trial that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was not discharged and was
 still subject to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s admonitions; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; confirming
 that the alternate juror had continued to heed &lt;span class="ldml-entity"&gt;the

&lt;span class="ldml-pagenumber" data-val="30" data-id="pagenumber_39716" data-page_type="bare_number"&gt;&lt;/span&gt;
 court&lt;/span&gt;'s admonitions between the time &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was recessed and
 the time &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was called back; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; instructing the eleven
 remaining regular jurors to put their previous deliberations
 out of their minds and begin deliberating anew; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;
 receiving individual assurances from those eleven jurors that
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could do so.&lt;/span&gt; &lt;span data-paragraph-id="39224" data-sentence-id="40035" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_39390"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39224" data-sentence-id="40039" class="ldml-sentence"&gt;Furthermore, the evident
 nature of the holdout juror's hearing impairment, which
 &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had disclosed from the start, allowed &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; to feel
 confident that the problem was not manufactured.&lt;/span&gt; &lt;span data-paragraph-id="39224" data-sentence-id="40232" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_40039"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="39224" data-sentence-id="40236" class="ldml-sentence"&gt;Lastly, the reconstituted jury deliberated for two hours
 longer than the original jury; surrendered the notes from the
 first round of deliberations before the second round of
 deliberations; and submitted a question that demonstrated it
 was analyzing the evidence and the law afresh.&lt;/span&gt; &lt;span data-paragraph-id="39224" data-sentence-id="40523" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_40236"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;
 at 492-93&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="39224" data-sentence-id="40539" class="ldml-sentence"&gt;Together, &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt; persuaded &lt;span class="ldml-entity"&gt;us&lt;/span&gt; that
 the reconstituted jury had indeed deliberated anew.&lt;/span&gt;
&lt;span data-paragraph-id="39224" data-sentence-id="40640" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_40539"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 493&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="40652" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="40652" data-sentence-id="40663" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40663"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Tellingly, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_40663"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and its outcome-determinative
 standard of reversal did not factor into our &lt;span class="ldml-entity"&gt;decision in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_40663"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40652" data-sentence-id="40784" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_40663"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 491&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="40652" data-sentence-id="40815" class="ldml-sentence"&gt;Instead, in discerning whether reversal was warranted, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 applied the presumption-of-prejudice standard from
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_40815"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40652" data-sentence-id="40936" class="ldml-sentence"&gt;So, today, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; simply make explicit what
 was already implicit in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_40936"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;: The
 presumption-of-prejudice standard of reversal continues to
 apply in Colorado in mid-deliberations juror-substitution
 &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; after &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_40936"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="31" data-id="pagenumber_41154" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="41154" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="41154" data-sentence-id="41165" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41165"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But what do &lt;span class="ldml-entity"&gt;we&lt;/span&gt; make of our most recent opinion of relevance,
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_41165"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, where &lt;span class="ldml-entity"&gt;we&lt;/span&gt; looked to &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_41165"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, not
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_41165"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_41165"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, for guidance, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 accordingly applied an outcome-determinative standard of
 reversal, not the presumption-of-prejudice standard of
 reversal?&lt;/span&gt; &lt;span data-paragraph-id="41154" data-sentence-id="41439" class="ldml-sentence"&gt;Differently propounded, how do &lt;span class="ldml-entity"&gt;we&lt;/span&gt; square
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_41439"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, an &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_41439"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; apostle, with
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_41439"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_41439"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and today's
 decision?&lt;/span&gt; &lt;span data-paragraph-id="41154" data-sentence-id="41555" class="ldml-sentence"&gt;The answer is that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_41555"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_41555"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; are &lt;span class="ldml-quotation quote"&gt;"apples,"&lt;/span&gt; whereas
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_41555"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_41555"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; are
 &lt;span class="ldml-quotation quote"&gt;"oranges."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41154" data-sentence-id="41664" class="ldml-sentence"&gt;Recall that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_41664"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_41664"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; both involved the presence of alternate jurors
 as extra jurors during deliberations, not the
 mid-deliberations substitution of regular jurors with
 alternate jurors.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="41861" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="41861" data-sentence-id="41872" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41872"&gt;&lt;span class="ldml-cite"&gt;¶57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_41872"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; itself explained that an alternate's
 &lt;em class="ldml-emphasis"&gt;mere presence&lt;/em&gt; in deliberations, without more, is not
 enough to support a presumption of prejudice, but an
 alternate's &lt;em class="ldml-emphasis"&gt;participation&lt;/em&gt; in deliberations is an
 altogether different beast that may well justify the
 presumption.&lt;/span&gt; &lt;span data-paragraph-id="41861" data-sentence-id="42145" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="embeddedsentence_42162,sentence_41872"&gt;&lt;span class="ldml-cite"&gt;507 U.S. at 739&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;acknowledging that
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;here may be &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; where an intrusion should be
 presumed prejudicial"&lt;/span&gt; and explaining that &lt;span class="ldml-quotation quote"&gt;"the
 presence of alternate jurors during jury deliberations might
 prejudice &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; . . . because the alternates actually
 participated in the deliberations, verbally or through
 &lt;span class="ldml-quotation quote"&gt;'body language'&lt;/span&gt;"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884742359" data-vids="884742359" class="ldml-reference" data-prop-ids="sentence_41872"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United States v.
 Allison&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;481 F.2d 468, 472&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;5th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41861" data-sentence-id="42550" class="ldml-sentence"&gt;With
 &lt;em class="ldml-emphasis"&gt;extra&lt;/em&gt; jurors, participation is merely a
 &lt;em class="ldml-emphasis"&gt;possibility&lt;/em&gt;; with &lt;em class="ldml-emphasis"&gt;substituted&lt;/em&gt; jurors, by
 contrast, it is the &lt;em class="ldml-emphasis"&gt;expectation&lt;/em&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41861" data-sentence-id="42672" class="ldml-sentence"&gt;To presume
 prejudice in the latter but not the former is not a
 contradiction—far from it, it is a recognition that

&lt;span class="ldml-pagenumber" data-val="32" data-id="pagenumber_42791" data-page_type="bare_number"&gt;&lt;/span&gt;
 inherent in each situation are differing levels of threat to
 &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to a fair trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="42894" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="42894" data-sentence-id="42905" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42905"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; realize that, unlike the alternate jurors in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_42905"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the alternate juror in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_42905"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 actually participated in the deliberations.&lt;/span&gt; &lt;span data-paragraph-id="42894" data-sentence-id="43039" class="ldml-sentence"&gt;But, as Castro
 concedes, that doesn't render &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_43039"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; apposite.&lt;/span&gt;
&lt;span data-paragraph-id="42894" data-sentence-id="43101" class="ldml-sentence"&gt;For in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_43101"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the extra juror did not deliberate on
 the verdict.&lt;/span&gt; &lt;span data-paragraph-id="42894" data-sentence-id="43167" class="ldml-sentence"&gt;Rather, his presence and participation in the
 deliberations was minimal—&lt;span class="ldml-entity"&gt;he&lt;/span&gt; was removed from the jury
 room after the first ten minutes of deliberations, and not
 much occurred during those ten minutes: the jury selected the
 alternate juror as the foreperson, took a preliminary vote to
 get a sense of what the group thought, and began discussing
 the elements of the charges.&lt;/span&gt; &lt;span data-paragraph-id="42894" data-sentence-id="43546" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_43546"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43546"&gt;&lt;span class="ldml-cite"&gt;¶¶
 1-2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, 5, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_43546"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 336-37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42894" data-sentence-id="43585" class="ldml-sentence"&gt;And to our point, such minimally
 invasive participation is &lt;em class="ldml-emphasis"&gt;only&lt;/em&gt; possible in
 extra-juror situations.&lt;/span&gt; &lt;span data-paragraph-id="42894" data-sentence-id="43687" class="ldml-sentence"&gt;Hence, while &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_43687"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 technically involved the participation &lt;span class="ldml-parenthetical"&gt;(as opposed to the
 mere presence)&lt;/span&gt; of an alternate juror during deliberations, it
 is of the extra-juror ilk, not of the substituted-juror ilk.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="43890" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="43890" data-sentence-id="43901" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43901"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Based on the factual situation &lt;span class="ldml-entity"&gt;we&lt;/span&gt; confronted in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_43901"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; were understandably inclined to rely on
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_43901"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43890" data-sentence-id="44013" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_44013"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44013"&gt;&lt;span class="ldml-cite"&gt;¶¶ 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 13, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_44013"&gt;&lt;span class="ldml-cite"&gt;426 P.3d
 at 337, 339&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43890" data-sentence-id="44053" class="ldml-sentence"&gt;Indeed, our approach there was influenced by &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_44053"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s refusal to presume prejudice from an
 alternate's mere presence during deliberations, and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;
 our endorsement of &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt;'s refined
 jurisprudence on the nature and

&lt;span class="ldml-pagenumber" data-val="33" data-id="pagenumber_44287" data-page_type="bare_number"&gt;&lt;/span&gt;
 effect of errors committed in the trial process &lt;span class="ldml-parenthetical"&gt;(i.e., the
 structural error/trial error dichotomy)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43890" data-sentence-id="44390" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_44390"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44390"&gt;&lt;span class="ldml-cite"&gt;¶¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,15, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_44390"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 339-40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="44428" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="44428" data-sentence-id="44439" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44439"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Following &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_44439"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_44439"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; applied an
 outcome-determinative standard of reversal &lt;span class="ldml-parenthetical"&gt;(harmless error)&lt;/span&gt;,
 scrutinizing whether there was a reasonable possibility that
 the erroneous presence of the alternate during deliberations
 &lt;span class="ldml-quotation quote"&gt;"would have adversely affected the verdict of a typical
 jury."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="44428" data-sentence-id="44729" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44439"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="44428" data-sentence-id="44752" class="ldml-sentence"&gt;Considering the
 limited intrusion of the alternate and the overwhelming
 evidence supporting the conviction, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; had little difficulty
 concluding that the alternate's presence was harmless,
 regardless of whether it was viewed as a constitutional or
 nonconstitutional error.&lt;/span&gt;&lt;span data-paragraph-id="44428" data-sentence-id="45028" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN13" class="ldml-noteanchor" id="note-ref-ftn.FN13"&gt;13&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_44752"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶¶ 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 21,
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="45067" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="45067" data-sentence-id="45078" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45078"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Seizing on a sentence from our &lt;span class="ldml-entity"&gt;opinion in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_45078"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 Castro contends that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have explicitly drawn into question
 the authoritativeness of our line of &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; on the
 mid-deliberations substitution of a regular juror with an
 alternate juror &lt;span class="ldml-parenthetical"&gt;(i.e.,

&lt;span class="ldml-pagenumber" data-val="34" data-id="pagenumber_45329" data-page_type="bare_number"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_45078"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and its offspring)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45067" data-sentence-id="45359" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_45359"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45359"&gt;&lt;span class="ldml-cite"&gt;¶
 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_45359"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45067" data-sentence-id="45390" class="ldml-sentence"&gt;But this argument cannot take Castro
 far.&lt;/span&gt; &lt;span data-paragraph-id="45067" data-sentence-id="45433" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_45433"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; didn't address whether
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_45433"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and its descendants remained authoritative.&lt;/span&gt;
&lt;span data-paragraph-id="45067" data-sentence-id="45523" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; simply said that, &lt;span class="ldml-quotation quote"&gt;&lt;em class="ldml-emphasis"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;hatever may be the
 continued vitality of our juror-substitution line of
 &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;&lt;/em&gt; . . ., &lt;span class="ldml-entity"&gt;we&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[did]&lt;/span&gt; not understand the considerations
 expressed in &lt;span class="ldml-entity"&gt;those cases&lt;/span&gt; to govern the harmlessness of an
 &lt;span class="ldml-quotation quote"&gt;'intrusion'&lt;/span&gt; by an alternate upon the deliberations of
 a properly constituted jury."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="45067" data-sentence-id="45823" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_45523"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis
 added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45067" data-sentence-id="45846" class="ldml-sentence"&gt;Our point was that, regardless of whether our
 mid-deliberations juror-substitution &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; retained validity
 &lt;span class="ldml-parenthetical"&gt;(an issue that was &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt; before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;)&lt;/span&gt;, the concerns that
 motivated those decisions didn't control in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_45846"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_45846"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; involved an extra-juror
 situation, not a substituted-juror situation.&lt;/span&gt; &lt;span data-paragraph-id="45067" data-sentence-id="46145" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46145"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 make clear today, however, our mid-deliberations
 juror-substitution line of &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; is alive and kicking after
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_46145"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45067" data-sentence-id="46274" class="ldml-sentence"&gt;Accordingly, while &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_46274"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; adhered to
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_46274"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(apples to apples)&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; lean on
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_46274"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_46274"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(oranges to oranges)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="46393" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="46393" data-sentence-id="46404" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46404"&gt;&lt;span class="ldml-cite"&gt;¶63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In short, although the presumption-of-prejudice standard has
 been supplanted by an appropriate outcome-determinative
 standard in extra-juror &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, it has not been banished to
 extinction.&lt;/span&gt; &lt;span data-paragraph-id="46393" data-sentence-id="46600" class="ldml-sentence"&gt;No, it continues to have application in &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;
 involving the mid-deliberations substitution of regular
 jurors with alternate jurors.&lt;/span&gt; &lt;span data-paragraph-id="46393" data-sentence-id="46734" class="ldml-sentence"&gt;And any contention that it is
 improper to use the presumption-of-prejudice standard in this
 factual scenario without first finding &lt;span class="ldml-parenthetical"&gt;(or at least assuming)&lt;/span&gt;
 error—because it's a standard of reversal—is
 an attempt to board the

&lt;span class="ldml-pagenumber" data-val="35" data-id="pagenumber_46963" data-page_type="bare_number"&gt;&lt;/span&gt;
 ship that set sail when &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decided &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_46734"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; in &lt;span class="ldml-entity"&gt;1999&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="46393" data-sentence-id="47018" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_47018"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; court&lt;/span&gt; used this standard of reversal
 without first finding or assuming there was error.&lt;/span&gt; &lt;span data-paragraph-id="46393" data-sentence-id="47120" class="ldml-sentence"&gt;It
 reasoned that, &lt;em class="ldml-emphasis"&gt;irrespective of whether there was
 error&lt;/em&gt;, a rebuttable presumption of prejudice was
 warranted with respect to Carrillo's right to a fair
 trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="47285" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="47285" data-sentence-id="47296" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47296"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; discuss next why &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold on to the remaining vestiges of
 the presumption-of-prejudice standard in mid-deliberations
 juror-substitution &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 C.
The Presumption-of-Prejudice Standard Serves a Necessary
 Function in Mid-Deliberations Juror-Substitution
 Cases
" data-parsed="true" data-id="heading_47447" data-format="upper_case_letters" data-specifier="C" data-ordinal_start="3" data-ordinal_end="3" id="heading_47447" data-value="C.
 The Presumption-of-Prejudice Standard Serves a Necessary
 Function in Mid-Deliberations Juror-Substitution
 Cases"&gt;&lt;span data-paragraph-id="47447" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="47447" data-sentence-id="47458" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;span data-paragraph-id="47447" data-sentence-id="47461" class="ldml-sentence"&gt;The Presumption-of-Prejudice Standard Serves a Necessary
 Function in Mid-Deliberations Juror-Substitution
 &lt;span class="ldml-entity"&gt;Cases&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="47575" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="47575" data-sentence-id="47586" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47586"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"Form follows function."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="47575" data-sentence-id="47615" class="ldml-sentence"&gt;First coined in the
 architectural context, then embraced as a biological
 principle, this concept is useful in demonstrating that the
 applicable standard of reversal must follow the function to
 be served.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="47823" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="47823" data-sentence-id="47834" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47834"&gt;&lt;span class="ldml-cite"&gt;¶66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The primary concern in felony &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; involving either an extra
 juror or a substituted juror during deliberations is ensuring
 &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to a fair trial.&lt;/span&gt; &lt;span data-paragraph-id="47823" data-sentence-id="48004" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_47834"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Olano&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;507 U.S. at 737-38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47834"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II, §
 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47823" data-sentence-id="48064" class="ldml-sentence"&gt;In the former, this threat comes from the presence and
 potential participation of a thirteenth juror, but in the
 latter, this threat can come either from the lingering
 influence of the dismissed juror or from outside information
 the alternate has learned since the trial's conclusion.&lt;/span&gt;
&lt;span data-paragraph-id="47823" data-sentence-id="48353" class="ldml-sentence"&gt;Moreover, juror-substitution &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; face the additional threat
 that the alternate juror may not have &lt;span class="ldml-quotation quote"&gt;"a realistic
 opportunity to express his views and to persuade
 others,"&lt;/span&gt; making the jury, at least in practice, a jury
 of eleven.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="36" data-id="pagenumber_48585" data-page_type="bare_number"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="47823" data-sentence-id="48586" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_48353"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;775 P.2d at 588&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47823" data-sentence-id="48613" class="ldml-sentence"&gt;To avoid reversal, there
 must be assurances that the deliberations do not fall prey to
 one of these dangers.&lt;/span&gt; &lt;span data-paragraph-id="47823" data-sentence-id="48724" class="ldml-sentence"&gt;The function of the standard of
 reversal is to ascertain whether such assurances exist.&lt;/span&gt; &lt;span data-paragraph-id="47823" data-sentence-id="48813" class="ldml-sentence"&gt;And
 the form of the presumption-of-prejudice standard is best
 suited to serve that function in mid-deliberations
 juror-substitution &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="48955" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="48955" data-sentence-id="48966" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48966"&gt;&lt;span class="ldml-cite"&gt;¶67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For starters, as its moniker suggests, the constitutional
 harmless error standard proposed by Castro requires error.&lt;/span&gt; &lt;span data-paragraph-id="48955" data-sentence-id="49089" class="ldml-sentence"&gt;In
 &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; of a thirteenth juror, that standard fits like a glove:
 It is obviously error to permit an alternate to attend
 deliberations as a thirteenth juror.&lt;/span&gt; &lt;span data-paragraph-id="48955" data-sentence-id="49249" class="ldml-sentence"&gt;But in &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; of a
 substituted juror, the answer is not so clear.&lt;/span&gt; &lt;span data-paragraph-id="48955" data-sentence-id="49315" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 explained earlier, given the ambiguity in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49315"&gt;&lt;span class="ldml-cite"&gt;section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; cannot say whether it is error to substitute a regular
 juror with an alternate juror mid-deliberations.&lt;/span&gt; &lt;span data-paragraph-id="48955" data-sentence-id="49492" class="ldml-sentence"&gt;So, why
 would &lt;span class="ldml-entity"&gt;we&lt;/span&gt; use a standard of reversal that applies to
 &lt;em class="ldml-emphasis"&gt;errors&lt;/em&gt;?&lt;/span&gt; &lt;span data-paragraph-id="48955" data-sentence-id="49562" class="ldml-sentence"&gt;In our view, it is more logical to presume
 prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to a fair trial, and
 to then hinge our decision to affirm or reverse on whether
 that presumption is overcome by the precautionary measures
 taken by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="49803" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="49803" data-sentence-id="49814" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49814"&gt;&lt;span class="ldml-cite"&gt;¶68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Castro nevertheless insists that, although functionally
 similar to the presumption-of-prejudice standard, the
 constitutional harmless error standard would be more
 protective of the jury's deliberative process.&lt;/span&gt;
&lt;span data-paragraph-id="49803" data-sentence-id="50032" class="ldml-sentence"&gt;Interestingly, though, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; admits that the analysis &lt;span class="ldml-entity"&gt;he&lt;/span&gt;
 advances would consider the same factors that are relevant
 under the presumption-of-prejudice standard.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="37" data-id="pagenumber_50192" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="50192" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="50192" data-sentence-id="50203" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50203"&gt;&lt;span class="ldml-cite"&gt;¶69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But if the same factors are pertinent to both standards, then
 the principal difference in the analysis is that, rather than
 presuming prejudice and inquiring whether the procedures
 effectuated by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; suffice to rebut that
 presumption, constitutional harmlessness begins with the
 assumption that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; committed an error and that
 &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; must bear the burden of proving beyond a
 reasonable doubt that the error was harmless.&lt;/span&gt; &lt;span data-paragraph-id="50192" data-sentence-id="50664" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_50203"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Hagos
 v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2012 CO 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50203"&gt;&lt;span class="ldml-cite"&gt;¶ 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;288 P.3d 116, 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="50192" data-sentence-id="50723" class="ldml-sentence"&gt;This would unfairly put &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; behind the eight ball: Why
 should &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; be required to prove the harmlessness of an
 error beyond a reasonable doubt when &lt;span class="ldml-entity"&gt;we&lt;/span&gt; don't even know
 if there was an error in the first place?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="50948" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="50948" data-sentence-id="50959" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50959"&gt;&lt;span class="ldml-cite"&gt;¶70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Moreover, unlike the harmlessness standard, the
 presumption-of-prejudice standard allows &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to balance our
 duty to ensure a fair trial with the significant interest in
 avoiding a mistrial.&lt;/span&gt; &lt;span data-paragraph-id="50948" data-sentence-id="51156" class="ldml-sentence"&gt;Reversing a conviction &lt;span class="ldml-quotation quote"&gt;"entails
 substantial social costs."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="50948" data-sentence-id="51216" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889790266" data-vids="889790266" class="ldml-reference" data-prop-ids="sentence_51156"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Casias&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;2012 COA 117&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51156"&gt;&lt;span class="ldml-cite"&gt;¶ 56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895394542" data-vids="895394542" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;312 P.3d 208, 219&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892456178" data-vids="892456178" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United States v. Mechanik&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;475 U.S. 66, 72&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="50948" data-sentence-id="51334" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;t forces jurors, witnesses, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;,
 and &lt;span class="ldml-entity"&gt;the defendants&lt;/span&gt; to expend further time, energy, and other
 resources to repeat a trial that has already once taken
 place; &lt;span class="ldml-parenthetical"&gt;[and]&lt;/span&gt; victims may be asked to relive their disturbing
 experiences."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="50948" data-sentence-id="51587" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895394542" data-vids="895394542" class="ldml-reference" data-prop-ids="sentence_51334"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alteration in original&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="50948" data-sentence-id="51617" class="ldml-sentence"&gt;In
 this regard, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are keenly aware that this is a sexual
 assault case and that the victim is a child.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="38" data-id="pagenumber_51722" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="51722" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="51722" data-sentence-id="51733" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51733"&gt;&lt;span class="ldml-cite"&gt;¶71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Although the foregoing social costs may both be
 &lt;span class="ldml-quotation quote"&gt;"acceptable and ... necessary"&lt;/span&gt; to protect &lt;span class="ldml-entity"&gt;a
 defendant&lt;/span&gt;'s right to a fair trial, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51733"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(omission
 in &lt;span class="ldml-referencenote"&gt;original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892456178" data-vids="892456178" class="ldml-reference" data-prop-ids="sentence_51733"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Mechanik&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;475 U.S. at 72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;,
 employing the prophylactic precautions prescribed in
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_51733"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_51733"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; allows &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to avoid
 them.&lt;/span&gt; &lt;span data-paragraph-id="51722" data-sentence-id="52034" class="ldml-sentence"&gt;This is not possible under the constitutional
 harmlessness standard.&lt;/span&gt; &lt;span data-paragraph-id="51722" data-sentence-id="52104" class="ldml-sentence"&gt;Indeed, were &lt;span class="ldml-entity"&gt;we&lt;/span&gt; to review for
 constitutional harmless error, it would telegraph to &lt;span class="ldml-entity"&gt;trial
 courts&lt;/span&gt; that it is error to replace a regular juror with an
 alternate juror during deliberations, regardless of the
 social costs of declaring a mistrial.&lt;/span&gt; &lt;span data-paragraph-id="51722" data-sentence-id="52350" class="ldml-sentence"&gt;Talk about a catch-22:
 Declare a mistrial or intentionally commit
 error.&lt;/span&gt;&lt;span data-paragraph-id="51722" data-sentence-id="52424" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN14" class="ldml-noteanchor" id="note-ref-ftn.FN14"&gt;14&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="39" data-id="pagenumber_52427" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="
 III.
Application
" data-parsed="true" data-id="heading_52427" data-format="upper_case_roman_numeral" data-specifier="III" data-ordinal_start="3" data-ordinal_end="3" id="heading_52427" data-value="III.
 Application"&gt;&lt;span data-paragraph-id="52427" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="52427" data-sentence-id="52438" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="52427" data-sentence-id="52443" class="ldml-sentence"&gt;Application&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-types="standardofreview" data-parsed="true" data-id="heading_52455" data-format="upper_case_letters" data-content-heading-label="
 A.
Standard of Review
" data-specifier="A" data-ordinal_start="1" data-ordinal_end="1" id="heading_52455" data-confidences="very_high" data-value="A.
 Standard of Review"&gt;&lt;span data-paragraph-id="52455" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="52455" data-sentence-id="52466" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="52455" data-sentence-id="52469" class="ldml-sentence"&gt;Standard of Review&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="52488" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="52488" data-sentence-id="52499" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52499"&gt;&lt;span class="ldml-cite"&gt;¶72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Castro argues for de novo review based on his position that
 the pertinent question &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must answer is whether &lt;span class="ldml-entity"&gt;a trial
 court&lt;/span&gt; has statutory authority to substitute a deliberating
 juror.&lt;/span&gt; &lt;span data-paragraph-id="52488" data-sentence-id="52690" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethepeopleofthestateofcoloradovkembelno22sa1722023co5february21,2023" data-prop-ids="sentence_52499"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Kembel&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2023 CO 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52499"&gt;&lt;span class="ldml-cite"&gt;¶ 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/932802729" data-vids="932802729" class="ldml-reference" data-prop-ids="embeddedsentence_52747"&gt;&lt;span class="ldml-cite"&gt;524 P.3d 18, 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that whether &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; has
 statutory authority is a question of law that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review de
 novo&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52488" data-sentence-id="52854" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt;, by contrast, push for an abuse of
 discretion standard of review.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="52932" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="52932" data-sentence-id="52943" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52943"&gt;&lt;span class="ldml-cite"&gt;¶73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ve explained, instead of delving into the
 appropriate standard of review to ascertain whether an error
 occurred, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; presume that a mid-deliberations substitution of
 a regular juror with an alternate juror always prejudices &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52932" data-sentence-id="53196" class="ldml-sentence"&gt;It follows that the only relevant inquiry is
 whether reversal is warranted.&lt;/span&gt; &lt;span data-paragraph-id="52932" data-sentence-id="53273" class="ldml-sentence"&gt;And that question turns on
 whether the precautions employed by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;, when
 considered in light of the surrounding circumstances,
 overcome the presumption of prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52932" data-sentence-id="53471" class="ldml-sentence"&gt;This
 is the standard of reversal &lt;span class="ldml-entity"&gt;we&lt;/span&gt; apply here.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="53520" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="53520" data-sentence-id="53531" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53531"&gt;&lt;span class="ldml-cite"&gt;¶74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In conducting this inquiry, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are mindful that &lt;span class="ldml-quotation quote"&gt;"the
 fact that &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; has taken extraordinary precautions,
 in and of itself, is insufficient to rebut the presumption of
 prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to a fair trial."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="53520" data-sentence-id="53768" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_53531"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Carrillo&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;974 P.2d at 493&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="53520" data-sentence-id="53795" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must assure
 ourselves that &lt;span class="ldml-quotation quote"&gt;"under &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;&lt;/span&gt;,

&lt;span class="ldml-pagenumber" data-val="40" data-id="pagenumber_53874" data-page_type="bare_number"&gt;&lt;/span&gt;
 the precautions were adequate to achieve that result."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="53520" data-sentence-id="53931" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_53795"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_53795"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;775 P.2d at 590&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="53520" data-sentence-id="53972" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; concentrate now on whether &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;'s precautions were sufficient to protect
 Castro's right to a fair trial.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 B.
The Trial Court's Precautions Successfully Rebutted the
 Presumption
" data-parsed="true" data-id="heading_54106" data-format="upper_case_letters" data-specifier="B" data-ordinal_start="2" data-ordinal_end="2" id="heading_54106" data-value="B.
 The Trial Court's Precautions Successfully Rebutted the
 Presumption"&gt;&lt;span data-paragraph-id="54106" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="54106" data-sentence-id="54117" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="54106" data-sentence-id="54120" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Trial Court&lt;/span&gt;'s Precautions Successfully Rebutted the
 Presumption&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="54189" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54189" data-sentence-id="54200" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54200"&gt;&lt;span class="ldml-cite"&gt;¶75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;'s actions in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; provide a model
 for &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; to apply the principles and precautions
 outlined in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_54200"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_54200"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="54189" data-sentence-id="54353" class="ldml-sentence"&gt;And
 because the precautions implemented by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;
 successfully rebutted the presumption of prejudice raised by
 the mid-deliberations substitution of Juror C with Juror W,
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive no basis for reversal.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="54572" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54572" data-sentence-id="54583" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54583"&gt;&lt;span class="ldml-cite"&gt;¶76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To begin, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; took all appropriate precautions with
 respect to Juror W.&lt;/span&gt; &lt;span data-paragraph-id="54572" data-sentence-id="54667" class="ldml-sentence"&gt;At the close of trial, after announcing
 that Juror W was the alternate, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; made clear to her
 that it was simply recessing her, not discharging her.&lt;/span&gt; &lt;span data-paragraph-id="54572" data-sentence-id="54824" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The
 court&lt;/span&gt; also instructed her that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was not to internally
 deliberate about &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, discuss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; with anyone, or
 view any media coverage of the proceedings, and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was
 to keep an open mind regarding &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="54572" data-sentence-id="55051" class="ldml-sentence"&gt;Once &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;
 recalled Juror W, it questioned her and confirmed that &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
 had adhered to its admonitions.&lt;/span&gt; &lt;span data-paragraph-id="54572" data-sentence-id="55165" class="ldml-sentence"&gt;Juror W also attested that
 &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was willing and able to participate in the deliberations
 and promised to remind the other jurors that deliberations
 were to begin anew.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="41" data-id="pagenumber_55335" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="55335" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="55335" data-sentence-id="55346" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55346"&gt;&lt;span class="ldml-cite"&gt;¶77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Next, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; closely followed the requisite precautions
 handed down by &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_55346"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_55346"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="55335" data-sentence-id="55449" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The
 court&lt;/span&gt; explained the situation to the eleven remaining regular
 jurors and then gave them time to reflect on and discuss
 whether &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could restart deliberations.&lt;/span&gt; &lt;span data-paragraph-id="55335" data-sentence-id="55617" class="ldml-sentence"&gt;Once &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 received their confirmation that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could do so, it
 thoroughly instructed them about their responsibility to
 begin deliberations anew and to remain open to Juror W's
 point of view.&lt;/span&gt; &lt;span data-paragraph-id="55335" data-sentence-id="55819" class="ldml-sentence"&gt;At defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s request, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 then questioned those jurors individually to confirm that
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were willing and able to start deliberations anew.&lt;/span&gt; &lt;span data-paragraph-id="55335" data-sentence-id="55975" class="ldml-sentence"&gt;And
 the eleven remaining regular jurors relinquished their notes
 from the first deliberations.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="56072" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="56072" data-sentence-id="56083" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56083"&gt;&lt;span class="ldml-cite"&gt;¶78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Notably, the circumstances here do not present one of the
 major concerns articulated in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_56083"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_56083"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="56072" data-sentence-id="56201" class="ldml-sentence"&gt;It is clear from the record that Juror
 C's health issues were genuine.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="56273" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="56273" data-sentence-id="56284" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56284"&gt;&lt;span class="ldml-cite"&gt;¶79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Castro, however, argues that the prejudice to him is clear
 because the original jury deliberated for approximately nine
 hours, whereas the reconstituted jury deliberated for only
 five and a half hours.&lt;/span&gt; &lt;span data-paragraph-id="56273" data-sentence-id="56494" class="ldml-sentence"&gt;And &lt;span class="ldml-entity"&gt;he&lt;/span&gt; points out that the original
 jury had admittedly made substantial progress, reaching a
 unanimous decision on one count and stating it needed perhaps
 an hour to reach a decision on the second count.&lt;/span&gt; &lt;span data-paragraph-id="56273" data-sentence-id="56702" class="ldml-sentence"&gt;According to
 Castro, after all of this, it is inconceivable the eleven
 remaining regular jurors could simply set aside the
 discussions during the first round of deliberations and
 return to square one.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="42" data-id="pagenumber_56907" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="56907" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="56907" data-sentence-id="56918" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56918"&gt;&lt;span class="ldml-cite"&gt;¶80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree with the division that five and a half hours is
 still a substantial amount of time to deliberate.&lt;/span&gt;
&lt;span data-paragraph-id="56907" data-sentence-id="57035" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56918"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Castro&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;¶ 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="56907" data-sentence-id="57049" class="ldml-sentence"&gt;Comparing the time the original
 jury and the reconstituted jury spent in deliberations is
 relevant, &lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_57049"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;775 P.2d at 590&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_57049"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 492&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, but not dispositive.&lt;/span&gt;
&lt;span data-paragraph-id="56907" data-sentence-id="57230" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;'re aware of no authority supporting &lt;span class="ldml-entity"&gt;the proposition&lt;/span&gt;
 that shorter second deliberations necessarily signal that the
 reconstituted jury failed to start from scratch.&lt;/span&gt; &lt;span data-paragraph-id="56907" data-sentence-id="57398" class="ldml-sentence"&gt;This is
 especially true given that matters like organizing the
 exhibits or deciding on a procedure for selecting the
 foreperson may be more streamlined the second time around.&lt;/span&gt;
&lt;span data-paragraph-id="56907" data-sentence-id="57577" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_57398"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Castro&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;¶ 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="56907" data-sentence-id="57591" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; decline Castro's
 invitation to engage in any line-drawing over what
 constitutes a sufficient amount of time for a second take at
 deliberations.&lt;/span&gt; &lt;span data-paragraph-id="56907" data-sentence-id="57741" class="ldml-sentence"&gt;Nor are &lt;span class="ldml-entity"&gt;we&lt;/span&gt; willing to speculate about the
 reconstituted jury's deliberations.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="57820" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="57820" data-sentence-id="57831" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_57831"&gt;&lt;span class="ldml-cite"&gt;¶81&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As for the progress the original jury made before Juror W was
 called upon to deliberate, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; recognized in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_57831"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 that, so long as the appropriate precautions are taken, an
 alternate juror may substitute a regular juror even after the
 jury has completed deliberations and even though the replaced
 juror was a lone holdout.&lt;/span&gt; &lt;span data-paragraph-id="57820" data-sentence-id="58165" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_57831"&gt;&lt;span class="ldml-cite"&gt;974 P.2d at 491-92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="57820" data-sentence-id="58185" class="ldml-sentence"&gt;Here, the
 circumstances were not so extreme.&lt;/span&gt; &lt;span data-paragraph-id="57820" data-sentence-id="58231" class="ldml-sentence"&gt;What's more, following
 the first round of deliberations, the eleven remaining
 regular jurors

&lt;span class="ldml-pagenumber" data-val="43" data-id="pagenumber_58328" data-page_type="bare_number"&gt;&lt;/span&gt;
 affirmed both in their written note to the trial judge and
 during individual questioning that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were willing and able
 to return to square one.&lt;/span&gt;&lt;span data-paragraph-id="57820" data-sentence-id="58477" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN15" class="ldml-noteanchor" id="note-ref-ftn.FN15"&gt;15&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="58480" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="58480" data-sentence-id="58491" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58491"&gt;&lt;span class="ldml-cite"&gt;¶82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In sum, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; meticulously
 implemented the precautions outlined in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_58491"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_58491"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58480" data-sentence-id="58615" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; further conclude that those precautions
 were sufficient under &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt; to rebut
 the presumption of prejudice to Castro stemming from the
 mid-deliberations substitution of Juror C with Juror W.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="conclusion" data-parsed="true" data-id="heading_58836" data-format="upper_case_roman_numeral" data-content-heading-label="
 IV.
Conclusion
" data-specifier="IV" data-ordinal_start="4" data-ordinal_end="4" id="heading_58836" data-confidences="very_high" data-value="IV.
 Conclusion"&gt;&lt;span data-paragraph-id="58836" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="58836" data-sentence-id="58847" class="ldml-sentence"&gt;IV.&lt;/span&gt;
&lt;span data-paragraph-id="58836" data-sentence-id="58851" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="58862" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="58862" data-sentence-id="58873" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58873"&gt;&lt;span class="ldml-cite"&gt;¶83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Life happens — including during jury deliberations.&lt;/span&gt; &lt;span data-paragraph-id="58862" data-sentence-id="58930" class="ldml-sentence"&gt;It
 is not rare for a juror to unexpectedly become incapacitated
 in the middle of deliberations.&lt;/span&gt; &lt;span data-paragraph-id="58862" data-sentence-id="59028" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The legislature&lt;/span&gt; sought to
 address this situation through &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59028"&gt;&lt;span class="ldml-cite"&gt;section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58862" data-sentence-id="59105" class="ldml-sentence"&gt;But in its
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;1991&lt;/span&gt; &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;&lt;/span&gt; of that &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, it contradicted itself.&lt;/span&gt; &lt;span data-paragraph-id="58862" data-sentence-id="59173" class="ldml-sentence"&gt;It
 may well be that &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; has not corrected that
 ambiguity because it agrees with the approach &lt;span class="ldml-entity"&gt;we&lt;/span&gt; took in
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_59173"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_59173"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58862" data-sentence-id="59315" class="ldml-sentence"&gt;Even so, it would be
 preferable to have &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; clarify its intent.&lt;/span&gt; &lt;span data-paragraph-id="58862" data-sentence-id="59392" class="ldml-sentence"&gt;So
 long as &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are left to guess what that intent is, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have
 little choice but to continue along the path cleared by
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_59392"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_59392"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="44" data-id="pagenumber_59535" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="59535" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="59535" data-sentence-id="59546" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59546"&gt;&lt;span class="ldml-cite"&gt;¶84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For the foregoing reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; proclaim the continued vitality
 of the presumption-of-prejudice standard of reversal in our
 mid-deliberations jurorsubstitution &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="59535" data-sentence-id="59718" class="ldml-sentence"&gt;And, applying that
 standard, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that Castro was not prejudiced by the
 mid-deliberations substitution of Juror C, a regular juror,
 with Juror W, an alternate juror.&lt;/span&gt; &lt;span data-paragraph-id="59535" data-sentence-id="59894" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the
 division's judgment.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="45" data-id="pagenumber_59943" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="59943" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="59943" data-sentence-id="59956" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;joined by JUSTICE &lt;span class="ldml-entity"&gt;HOOD&lt;/span&gt;&lt;/span&gt;, concurring in the
 judgment.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="60026" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="60026" data-sentence-id="60037" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60037"&gt;&lt;span class="ldml-cite"&gt;¶85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In purported accordance with our prior &lt;span class="ldml-entity"&gt;decision in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_60037"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d 478&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, the
 majority does not decide whether the mid-deliberation
 substitution of an alternate juror was error &lt;span class="ldml-parenthetical"&gt;(or even assume
 without deciding that an error occurred)&lt;/span&gt; and applies a
 presumption of prejudice standard, concluding that the
 presumption of prejudice was overcome here.&lt;/span&gt; &lt;span data-paragraph-id="60026" data-sentence-id="60419" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60037"&gt;&lt;span class="ldml-cite"&gt;Maj. op.
 ¶¶ 6-8, 40-41, 67, 70, 83-84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="60459" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="60459" data-sentence-id="60470" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60470"&gt;&lt;span class="ldml-cite"&gt;¶86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 I do not agree that it is appropriate to apply a presumption
 of prejudice standard without at least assuming that an error
 occurred.&lt;/span&gt; &lt;span data-paragraph-id="60459" data-sentence-id="60610" class="ldml-sentence"&gt;The presumption of prejudice standard is a standard
 of reversal.&lt;/span&gt; &lt;span data-paragraph-id="60459" data-sentence-id="60676" class="ldml-sentence"&gt;Accordingly, it cannot be untethered from a
 determination &lt;span class="ldml-parenthetical"&gt;(or at least an assumption)&lt;/span&gt; of error.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="60773" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="60773" data-sentence-id="60784" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60784"&gt;&lt;span class="ldml-cite"&gt;¶87&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Moreover, I do not believe that the presumption of prejudice
 standard that the majority employs survived our &lt;span class="ldml-entity"&gt;decision in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_60784"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2018 CO 72&lt;/span&gt;, &lt;span class="ldml-cite"&gt;426 P.3d 336&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="60955" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="60955" data-sentence-id="60966" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60966"&gt;&lt;span class="ldml-cite"&gt;¶88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, I would assume without deciding that it was
 error to substitute an alternate juror mid-deliberation, and
 I would apply the constitutional harmless error standard that
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt;, in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_60966"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60966"&gt;&lt;span class="ldml-cite"&gt;¶¶ 20-21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_60966"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 concluded applies in &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; like this one involving alternate
 juror participation in deliberations.&lt;/span&gt; &lt;span data-paragraph-id="60955" data-sentence-id="61296" class="ldml-sentence"&gt;Doing so, I would
 conclude that the error here was harmless beyond a reasonable
 doubt.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="46" data-id="pagenumber_61385" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="61385" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="61385" data-sentence-id="61396" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61396"&gt;&lt;span class="ldml-cite"&gt;¶89&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because I reach the same conclusion as the majority, although
 for different reasons, I concur in the judgment, only.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-types="background" data-parsed="true" data-id="heading_61519" data-format="upper_case_roman_numeral" data-content-heading-label="
 I.
Factual and Procedural Background
" data-specifier="I" data-ordinal_start="1" data-ordinal_end="1" id="heading_61519" data-confidences="very_high" data-value="I.
 Factual and Procedural Background"&gt;&lt;span data-paragraph-id="61519" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="61519" data-sentence-id="61530" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="61519" data-sentence-id="61533" class="ldml-sentence"&gt;Factual and Procedural Background&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="61567" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="61567" data-sentence-id="61578" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61578"&gt;&lt;span class="ldml-cite"&gt;¶90&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The pertinent facts are not disputed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="61621" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="61621" data-sentence-id="61632" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61632"&gt;&lt;span class="ldml-cite"&gt;¶91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Ricardo Castro&lt;/span&gt; was charged with sexual assault on a child
 pursuant to &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;18-3-405&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and sexual
 assault on a child by one in a position of trust pursuant to
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61632"&gt;&lt;span class="ldml-cite"&gt;section 18-3-405.3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2023&lt;/span&gt;)&lt;/span&gt;, arising out of conduct
 involving his former girlfriend's nine-year-old
 granddaughter.&lt;/span&gt; &lt;span data-paragraph-id="61621" data-sentence-id="61940" class="ldml-sentence"&gt;Castro exercised his right to a jury trial,
 and a jury of thirteen was constituted, including Juror C,
 who was a retired bankruptcy judge, and Juror W, whom &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; would later identify as the alternate juror.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="62161" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="62161" data-sentence-id="62172" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62172"&gt;&lt;span class="ldml-cite"&gt;¶92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The case&lt;/span&gt; proceeded to a three-day trial, and before the jury
 began deliberations, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; advised Juror W that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 was not going to discharge her but rather would
 &lt;span class="ldml-quotation quote"&gt;"recess"&lt;/span&gt; her and allow her to return home or to
 work.&lt;/span&gt; &lt;span data-paragraph-id="62161" data-sentence-id="62405" class="ldml-sentence"&gt;In doing so, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; instructed Juror W to continue
 to follow all of the admonitions that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; had given
 during the trial: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Don't decide &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Don't
 discuss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; with any of those curious loved ones or
 friends or family or co-workers.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Don't view any media
 coverage of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, and continue to keep your mind
 open."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="62742" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="62742" data-sentence-id="62753" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62753"&gt;&lt;span class="ldml-cite"&gt;¶93&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The twelve remaining jurors began deliberations and discussed
 &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for about forty-five minutes before recessing for
 the evening.&lt;/span&gt; &lt;span data-paragraph-id="62742" data-sentence-id="62894" class="ldml-sentence"&gt;The jury reconvened

&lt;span class="ldml-pagenumber" data-val="47" data-id="pagenumber_62916" data-page_type="bare_number"&gt;&lt;/span&gt;
 the next day and continued deliberating until the evening,
 when &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; recessed for the weekend.&lt;/span&gt; &lt;span data-paragraph-id="62742" data-sentence-id="63019" class="ldml-sentence"&gt;At that point, the
 jury had deliberated for approximately nine hours and
 forty-five minutes.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="63114" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="63114" data-sentence-id="63125" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63125"&gt;&lt;span class="ldml-cite"&gt;¶94&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Over the weekend, Juror C suffered a heart attack and was
 hospitalized.&lt;/span&gt; &lt;span data-paragraph-id="63114" data-sentence-id="63203" class="ldml-sentence"&gt;Based on information provided by Juror C's
 daughter, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; determined that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would not be able to
 continue as part of the jury and discharged him.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="63357" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="63357" data-sentence-id="63368" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63368"&gt;&lt;span class="ldml-cite"&gt;¶95&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then discussed with &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; three possible
 alternatives, in light of Juror C's circumstances: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;
 declare a mistrial; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; continue with a jury of eleven, which
 would require both &lt;span class="ldml-entity"&gt;parties&lt;/span&gt;' consent; or &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; substitute
 Juror W for Juror C.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="63626" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="63626" data-sentence-id="63637" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63637"&gt;&lt;span class="ldml-cite"&gt;¶96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; declined to stipulate to a jury of fewer than
 twelve members, and &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; opposed a mistrial.&lt;/span&gt; &lt;span data-paragraph-id="63626" data-sentence-id="63756" class="ldml-sentence"&gt;As a
 result, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; decided to reconstitute the jury with Juror
 W, which &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; determined would be proper as long as &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; took the precautionary measures set forth in our prior
 &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="63959" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="63959" data-sentence-id="63970" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63970"&gt;&lt;span class="ldml-cite"&gt;¶97&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To that end, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; brought the eleven remaining jurors
 into the courtroom, advised them of Juror C's absence,
 and asked whether &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would be able to start deliberations
 anew with Juror W.&lt;/span&gt; &lt;span data-paragraph-id="63959" data-sentence-id="64171" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; emphasized that this &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"means
 tear up your notes, all the notes that you've made during
 your deliberations, erase any notes you've made on the
 whiteboard.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Start completely over with an alternate.&lt;/span&gt;
&lt;span class="ldml-embeddedsentence"&gt;That's what the law requires for me to bring the
 alternate

&lt;span class="ldml-pagenumber" data-val="48" data-id="pagenumber_64440" data-page_type="bare_number"&gt;&lt;/span&gt;
 back in."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="63959" data-sentence-id="64452" class="ldml-sentence"&gt;Having asked whether the jurors could do this,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; allowed them to return to the jury room to discuss
 the matter.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="64574" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="64574" data-sentence-id="64585" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64585"&gt;&lt;span class="ldml-cite"&gt;¶98&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The jurors did so, and after approximately thirty minutes,
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; sent &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; a note, stating, &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;We&lt;/span&gt; were unanimous
 on the first count as of Friday, end of day.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;In fact, &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;we&lt;/span&gt;]&lt;/span&gt;
 wanted an extra hour on Friday, because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; believed &lt;span class="ldml-entity"&gt;we&lt;/span&gt; could
 decide the second."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="64574" data-sentence-id="64849" class="ldml-sentence"&gt;The jurors nonetheless said,
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;e believe it's feasible"&lt;/span&gt; to start
 deliberations anew with an open mind as to Juror W's
 potentially new perspective.&lt;/span&gt; &lt;span data-paragraph-id="64574" data-sentence-id="65001" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; clarified, however, that
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could not enter new deliberations in the same state of
 mind as &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had before their initial round of deliberations
 because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could not &lt;span class="ldml-quotation quote"&gt;"undo all the
 conversations/learning from prior deliberations."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="64574" data-sentence-id="65243" class="ldml-sentence"&gt;That
 said, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; expressed their desire to complete their jury
 service with the alternate and &lt;span class="ldml-quotation quote"&gt;"see &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; through to
 the end."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="65375" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="65375" data-sentence-id="65386" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65386"&gt;&lt;span class="ldml-cite"&gt;¶99&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s view&lt;/span&gt;, although Castro was entitled to a
 presumption of prejudice from the mid-deliberation
 substitution of an alternate juror, the jury's note
 overcame &lt;span class="ldml-quotation quote"&gt;"every dimension of that prejudice that you can
 imagine."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="65375" data-sentence-id="65620" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; thus brought Juror W back to the
 courtroom to confirm that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; had, in fact, followed all
 of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s admonitions, including its admonitions not
 to decide &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, not to discuss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; with others, and
 to avoid external influences; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; was willing to rejoin
 the jury and begin deliberations.&lt;/span&gt; &lt;span data-paragraph-id="65375" data-sentence-id="65942" class="ldml-sentence"&gt;Juror W answered
 affirmatively on both points.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="49" data-id="pagenumber_65990" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="65990" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="65990" data-sentence-id="66001" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66001"&gt;&lt;span class="ldml-cite"&gt;¶100&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Having undertaken the foregoing precautionary measures, &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; informed the jurors that Juror W would substitute for
 Juror C and instructed them to start deliberations anew,
 stressing, &lt;span class="ldml-quotation quote"&gt;"It doesn't mean that you have to pretend
 you haven't been spending—that you didn't spend
 all of Friday talking with each other and somebody else,
 &lt;span class="ldml-parenthetical"&gt;[Juror C]&lt;/span&gt;, and not with &lt;span class="ldml-parenthetical"&gt;[Juror W]&lt;/span&gt; about &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;,"&lt;/span&gt; but
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[y]&lt;/span&gt;ou have to be open"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[y]&lt;/span&gt;ou have to
 start over with each element of each count."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="65990" data-sentence-id="66494" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt;
 also informed the jurors that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would have to &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; repeat
 the foreperson election process, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; destroy any notes from
 their prior deliberations, and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; use new verdict forms.&lt;/span&gt; &lt;span data-paragraph-id="65990" data-sentence-id="66685" class="ldml-sentence"&gt;And
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; asked Juror W to promise to speak up if any of the
 other jurors was not, in fact, honoring their commitment to
 start over.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="66825" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="66825" data-sentence-id="66836" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66836"&gt;&lt;span class="ldml-cite"&gt;¶101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then instructed the reconstituted jury to begin its
 deliberations, but on defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s further request,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; opted to speak with each of the eleven original
 jurors individually, to confirm that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were willing to
 begin deliberations anew.&lt;/span&gt; &lt;span data-paragraph-id="66825" data-sentence-id="67106" class="ldml-sentence"&gt;All eleven said that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="67138" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="67138" data-sentence-id="67149" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67149"&gt;&lt;span class="ldml-cite"&gt;¶102&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The reconstituted jury then began deliberations, and after
 approximately five and one-half hours, the jury returned a
 guilty verdict on both counts.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="67306" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="67306" data-sentence-id="67317" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67317"&gt;&lt;span class="ldml-cite"&gt;¶103&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Castro subsequently appealed, arguing, as pertinent here,
 that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had reversibly erred by substituting
 Juror W for Juror C.&lt;/span&gt; &lt;span data-paragraph-id="67306" data-sentence-id="67462" class="ldml-sentence"&gt;A division of our &lt;span class="ldml-entity"&gt;court of appeals&lt;/span&gt;
 affirmed, however, assuming without deciding that the
 presumption of

&lt;span class="ldml-pagenumber" data-val="50" data-id="pagenumber_67570" data-page_type="bare_number"&gt;&lt;/span&gt;
 prejudice standard had survived &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_67462"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 determining that the precautions taken by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;,
 coupled with the other circumstances of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, overcame
 any presumption of prejudice.&lt;/span&gt; &lt;span data-paragraph-id="67306" data-sentence-id="67765" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67462"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Castro&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;No.
 18CA2389, ¶¶ 23, 54&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Aug. 11, 2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-types="analysis" data-parsed="true" data-id="heading_67825" data-format="upper_case_roman_numeral" data-content-heading-label="
 II.
Analysis
" data-specifier="II" data-ordinal_start="2" data-ordinal_end="2" id="heading_67825" data-confidences="very_high" data-value="II.
 Analysis"&gt;&lt;span data-paragraph-id="67825" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="67825" data-sentence-id="67836" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="67825" data-sentence-id="67840" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="67849" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="67849" data-sentence-id="67860" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67860"&gt;&lt;span class="ldml-cite"&gt;¶104&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 I begin by discussing the alternate juror &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; and rule.&lt;/span&gt; &lt;span data-paragraph-id="67849" data-sentence-id="67926" class="ldml-sentence"&gt;I
 then assume without deciding that it was error to substitute
 the alternate juror mid-deliberation, and I proceed to
 discuss what I believe to be the proper standard of reversal
 and to apply that standard to &lt;span class="ldml-entity"&gt;the facts before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 A.
Section 16-10-105 and Crim. P. 24(e)
" data-parsed="true" data-id="heading_68160" data-format="upper_case_letters" data-specifier="A" data-ordinal_start="1" data-ordinal_end="1" id="heading_68160" data-value="A.
 Section 16-10-105 and Crim. P. 24(e)"&gt;&lt;span data-paragraph-id="68160" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="68160" data-sentence-id="68171" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="68160" data-sentence-id="68174" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68171"&gt;&lt;span class="ldml-cite"&gt;Section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68171"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 24&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="68211" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="68211" data-sentence-id="68222" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶105
 Section 16-10-105, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, provides, in pertinent
 part:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_68292" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="68293" class="ldml-sentence"&gt;Alternate jurors in the order in which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are called shall
 replace jurors who, &lt;em class="ldml-emphasis"&gt;prior to the time the jury retires to
 consider its verdict&lt;/em&gt;, become unable or disqualified to
 perform their duties....&lt;/span&gt; &lt;span data-sentence-id="68495" class="ldml-sentence"&gt;An alternate juror &lt;em class="ldml-emphasis"&gt;shall&lt;/em&gt; be
 discharged when the jury retires to consider its verdict or
 at such time as determined by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="68626" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="68626" data-sentence-id="68627" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphases added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="68645" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="68645" data-sentence-id="68656" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68656"&gt;&lt;span class="ldml-cite"&gt;¶106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68656"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 24&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in turn, provides, in pertinent part,
 &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Alternate jurors in the order in which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are called
 shall replace jurors who become unable or disqualified to
 perform their duties....&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;An alternate juror &lt;em class="ldml-emphasis"&gt;shall
 not&lt;/em&gt; be discharged until the jury renders its verdict or
 until such time as determined by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="68645" data-sentence-id="68985" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis
 added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="51" data-id="pagenumber_69004" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="69004" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="69004" data-sentence-id="69015" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69015"&gt;&lt;span class="ldml-cite"&gt;¶107&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As an initial matter, I note that a legitimate question
 exists as to whether these provisions conflict.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="69126" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="69126" data-sentence-id="69137" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69137"&gt;&lt;span class="ldml-cite"&gt;¶108&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69137"&gt;&lt;span class="ldml-cite"&gt;Section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; can reasonably be read to prohibit the
 mid-deliberation substitution of an alternate juror.&lt;/span&gt; &lt;span data-paragraph-id="69126" data-sentence-id="69253" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 acknowledged in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_69253"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 489&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a plain
 reading of the language, &lt;span class="ldml-quotation quote"&gt;"prior to the time the jury
 retires to consider its verdict,"&lt;/span&gt; suggests that an
 alternate juror can replace sitting jurors only
 &lt;em class="ldml-emphasis"&gt;before&lt;/em&gt; the jury begins deliberations.&lt;/span&gt; &lt;span data-paragraph-id="69126" data-sentence-id="69505" class="ldml-sentence"&gt;Moreover, when
 read in light of that language, and presuming that &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt; did not intend to draft a facially
 self-contradictory &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;'s mandate that
 any alternate juror be &lt;span class="ldml-quotation quote"&gt;"discharged when the jury retires
 to consider its verdict or at such time as determined by &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt;,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69505"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, arguably suggests that &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; has discretion to discharge the alternate juror, but
 only &lt;em class="ldml-emphasis"&gt;before&lt;/em&gt; the jury begins deliberating, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890011629" data-vids="890011629" class="ldml-reference" data-prop-ids="sentence_69505"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People
 v. Montoya&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;942 P.2d 1287, 1295&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="70010" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="70010" data-sentence-id="70021" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70021"&gt;&lt;span class="ldml-cite"&gt;¶109&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70021"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 24&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in contrast, does not condition the
 substitution of an alternate juror on either a regular
 juror's inability to proceed or a disqualification
 occurring before the jury begins deliberations.&lt;/span&gt; &lt;span data-paragraph-id="70010" data-sentence-id="70235" class="ldml-sentence"&gt;Accordingly,
 the rule appears to permit mid-deliberation substitution in
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s discretion.&lt;/span&gt; &lt;span data-paragraph-id="70010" data-sentence-id="70340" class="ldml-sentence"&gt;Such a reading finds
 further support in the rule's additional mandate that an
 alternate juror is not to be discharged until the jury
 renders its verdict or until such other time as &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; may
 determine.&lt;/span&gt; &lt;span data-paragraph-id="70010" data-sentence-id="70550" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70340"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 24&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="52" data-id="pagenumber_70566" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="70566" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="70566" data-sentence-id="70577" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70577"&gt;&lt;span class="ldml-cite"&gt;¶110&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; determined in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_70577"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 488&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 however, the matter of when an alternate juror may be
 substituted for a regular juror is a matter of substance, not
 procedure.&lt;/span&gt; &lt;span data-paragraph-id="70566" data-sentence-id="70760" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; controls.&lt;/span&gt; &lt;span data-paragraph-id="70566" data-sentence-id="70795" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_70760"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="70799" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="70799" data-sentence-id="70810" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70810"&gt;&lt;span class="ldml-cite"&gt;¶111&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The question thus becomes whether &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred under
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70810"&gt;&lt;span class="ldml-cite"&gt;section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; when it substituted Juror W in the middle
 of the jury's deliberations.&lt;/span&gt; &lt;span data-paragraph-id="70799" data-sentence-id="70969" class="ldml-sentence"&gt;Although this is an
 interesting question that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; may need to address at some
 point, I need not decide it in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; because assuming
 without deciding that the substitution violated &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;,
 I believe that the application of the proper standard of
 reversal is dispositive here.&lt;/span&gt; &lt;span data-paragraph-id="70799" data-sentence-id="71257" class="ldml-sentence"&gt;I turn to that issue next.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-types="standardofreview" data-parsed="true" data-id="heading_71284" data-format="upper_case_letters" data-content-heading-label="
 B.
Applicable Standard of Reversal
" data-specifier="B" data-ordinal_start="2" data-ordinal_end="2" id="heading_71284" data-confidences="medium" data-value="B.
 Applicable Standard of Reversal"&gt;&lt;span data-paragraph-id="71284" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="71284" data-sentence-id="71295" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="71284" data-sentence-id="71298" class="ldml-sentence"&gt;Applicable Standard of Reversal&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="71330" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="71330" data-sentence-id="71341" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71341"&gt;&lt;span class="ldml-cite"&gt;¶112&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As noted above, the majority applies the presumption of
 prejudice standard from &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_71341"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Carrillo&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;974 P.2d at
 490-91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, untethered from any determination, or even
 assumption, of error.&lt;/span&gt; &lt;span data-paragraph-id="71330" data-sentence-id="71525" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71341"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶ 6-8, 40-41, 67,
 70, 83-84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="71330" data-sentence-id="71565" class="ldml-sentence"&gt;For two reasons, I respectfully submit that this
 approach is mistaken.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="71637" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="71637" data-sentence-id="71648" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71648"&gt;&lt;span class="ldml-cite"&gt;¶113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, I do not believe that it is appropriate to apply a
 standard of reversal that is not tied to any determination of
 error.&lt;/span&gt; &lt;span data-paragraph-id="71637" data-sentence-id="71783" class="ldml-sentence"&gt;By definition, standards of reversal are applied only
 after &lt;span class="ldml-entity"&gt;an appellate court&lt;/span&gt; concludes &lt;span class="ldml-parenthetical"&gt;(or at least assumes)&lt;/span&gt; that
 an error occurred.&lt;/span&gt; &lt;span data-paragraph-id="71637" data-sentence-id="71920" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See, e.g.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887014086" data-vids="887014086" class="ldml-reference" data-prop-ids="sentence_71783"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Pettigrew v.
 People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2022 CO 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71783"&gt;&lt;span class="ldml-cite"&gt;¶ 54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:501p3d813,825"&gt;&lt;span class="ldml-cite"&gt;501 P.3d 813, 825&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(assuming without deciding error before addressing
 harmlessness)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889012146" data-vids="889012146" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Zoll v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2018 CO 70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:425p3d1120,1127"&gt;&lt;span class="ldml-cite"&gt;425 P.3d 1120, 1127&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(same)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:cridervpeopleofthestateofcoloradono06sc799186p3d39june2,2008"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Crider v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;186
 P.3d 39, 41-42&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="53" data-id="pagenumber_72168" data-page_type="bare_number"&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(determining that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had erred before
 considering whether the error was harmless)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="71637" data-sentence-id="72266" class="ldml-sentence"&gt;And unlike the
 majority, I do not believe that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_72266"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; intended to
 suggest otherwise.&lt;/span&gt; &lt;span data-paragraph-id="71637" data-sentence-id="72355" class="ldml-sentence"&gt;Specifically, although &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perhaps could
 have been more clear in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_72355"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, I read &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;
 as implicitly assuming without deciding that an error had
 occurred.&lt;/span&gt; &lt;span data-paragraph-id="71637" data-sentence-id="72517" class="ldml-sentence"&gt;To the extent that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_72517"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did otherwise,
 I respectfully submit that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; erred in that regard.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="72613" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="72613" data-sentence-id="72624" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_72624"&gt;&lt;span class="ldml-cite"&gt;¶114&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On this point, I am unpersuaded by the majority's
 expressed concern that reviewing for constitutional harmless
 error in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; could suggest that mid-deliberation
 substitution of a juror might be an error requiring a
 mistrial.&lt;/span&gt; &lt;span data-paragraph-id="72613" data-sentence-id="72864" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_72624"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 71 &amp;n.14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="72613" data-sentence-id="72885" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_72885"&gt;&lt;span class="ldml-cite"&gt;section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 so requires, then it is not for &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to ignore that statutory
 command because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not like the result.&lt;/span&gt; &lt;span data-paragraph-id="72613" data-sentence-id="73011" class="ldml-sentence"&gt;Rather, the matter
 becomes a policy issue for &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; to address.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="73086" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="73086" data-sentence-id="73097" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73097"&gt;&lt;span class="ldml-cite"&gt;¶115&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Second, I believe that in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_73097"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; effectively
 overruled the presumption of prejudice standard that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; had
 applied in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_73097"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, adopting instead a structural
 error/harmless error dichotomy.&lt;/span&gt; &lt;span data-paragraph-id="73086" data-sentence-id="73297" class="ldml-sentence"&gt;In &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_73297"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73297"&gt;&lt;span class="ldml-cite"&gt;¶ 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_73297"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 337&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; considered whether &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt;'s failure to recall an alternate juror for
 approximately ten minutes into the jury's deliberations
 was reversible error, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; ultimately concluded that any
 error was harmless.&lt;/span&gt; &lt;span data-paragraph-id="73086" data-sentence-id="73553" class="ldml-sentence"&gt;To reach this conclusion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; provided a
 detailed history of the standards of reversal that had
 applied in &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; like the one there before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73086" data-sentence-id="73697" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_73697"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73697"&gt;&lt;span class="ldml-cite"&gt;¶¶ 9-15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_73697"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 337-40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="54" data-id="pagenumber_73734" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="73734" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="73734" data-sentence-id="73745" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73745"&gt;&lt;span class="ldml-cite"&gt;¶116&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Specifically, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; began by noting that in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_73745"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Boulies&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;690 P.2d 1253, 1255-56&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;em class="ldml-emphasis"&gt;we&lt;/em&gt;&lt;/span&gt; had concluded that the presence of an alternate
 juror during jury deliberations raised a presumption of
 prejudice that, if unrebutted, required reversal.&lt;/span&gt;
&lt;span data-paragraph-id="73734" data-sentence-id="74009" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_73745"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73745"&gt;&lt;span class="ldml-cite"&gt;¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 338&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73734" data-sentence-id="74039" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; then explained
 how &lt;span class="ldml-entity"&gt;we&lt;/span&gt; had subsequently applied that presumption of prejudice
 in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_74039"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Burnette&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;775 P.2d 583, 590&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_74039"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 488&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, both of which
 involved scenarios in which an alternate juror was
 substituted for a regular juror after deliberations had
 begun.&lt;/span&gt; &lt;span data-paragraph-id="73734" data-sentence-id="74338" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_74039"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74039"&gt;&lt;span class="ldml-cite"&gt;¶¶ 11-12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at
 338-39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="74376" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="74376" data-sentence-id="74387" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74387"&gt;&lt;span class="ldml-cite"&gt;¶117&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; proceeded in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_74387"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to observe, however, that
 although &lt;span class="ldml-entity"&gt;we&lt;/span&gt; had largely relied on federal authorities in
 deciding &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_74387"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, federal law had changed since that
 time.&lt;/span&gt; &lt;span data-paragraph-id="74376" data-sentence-id="74559" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_74559"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74559"&gt;&lt;span class="ldml-cite"&gt;¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_74559"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 339&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="74376" data-sentence-id="74589" class="ldml-sentence"&gt;In
 particular, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; noted that in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_74589"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United States v. Olano&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;507 U.S. 725, 739, 741&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which was decided after both
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_74589"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_74589"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; had
 considered the presence of an alternate juror in the jury
 room and concluded that an alternate juror's mere
 presence in the jury room should &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt; be presumed to
 be prejudicial.&lt;/span&gt; &lt;span data-paragraph-id="74376" data-sentence-id="74932" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_74589"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74589"&gt;&lt;span class="ldml-cite"&gt;¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 339&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="74376" data-sentence-id="74962" class="ldml-sentence"&gt;Instead, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_74962"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;507 U.S. at 739-41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Supreme
 Court&lt;/span&gt; had described two ways in which the presence of
 alternate jurors during deliberations might be prejudicial
 and resolved &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; by noting that &lt;span class="ldml-entity"&gt;the defendants&lt;/span&gt; had not
 objected to the participation of the alternates in the jury
 room and had not made a specific showing of prejudice.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="55" data-id="pagenumber_75306" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="75306" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="75306" data-sentence-id="75317" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_75317"&gt;&lt;span class="ldml-cite"&gt;¶118&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; observed in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_75317"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_75317"&gt;&lt;span class="ldml-cite"&gt;¶ 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_75317"&gt;&lt;span class="ldml-cite"&gt;426 P.3d
 at 339&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that in the time since our above-described analyses
 of the presence or participation of alternate jurors in
 deliberations, the jurisprudence of both &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt;
 and of our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; concerning the nature and effect of trial
 errors had been substantially refined.&lt;/span&gt; &lt;span data-paragraph-id="75306" data-sentence-id="75647" class="ldml-sentence"&gt;In particular, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 noted that in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961" data-prop-ids="sentence_75647"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Novotny&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2014 CO 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_75647"&gt;&lt;span class="ldml-cite"&gt;¶
 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:320p3d1194,1201" data-prop-ids="sentence_75647"&gt;&lt;span class="ldml-cite"&gt;320 P.3d 1194, 1201&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; indicated that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; had largely
 come to accept the structural error/trial error dichotomy
 that &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; had developed.&lt;/span&gt; &lt;span data-paragraph-id="75306" data-sentence-id="75870" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_75647"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_75647"&gt;&lt;span class="ldml-cite"&gt;¶
 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 339&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="75306" data-sentence-id="75901" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; stated, with specific
 reference to our &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_75901"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"that our
 reliance on federal &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; for &lt;span class="ldml-entity"&gt;the proposition&lt;/span&gt; that an
 error of constitutional magnitude is committed by the mere
 presence of an alternate juror in the jury room during
 deliberations has turned out to have been mistaken."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="75306" data-sentence-id="76216" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_76216"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76216"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_76216"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 340&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="75306" data-sentence-id="76246" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 stated that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are required to analyze an alternate
 juror's erroneous involvement in deliberations for
 prejudicial impact.&lt;/span&gt; &lt;span data-paragraph-id="75306" data-sentence-id="76384" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_76246"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="75306" data-sentence-id="76388" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; then proceeded to address
 whether the alternate's presence in the jury room, though
 error, was harmless, and &lt;span class="ldml-entity"&gt;&lt;em class="ldml-emphasis"&gt;we&lt;/em&gt;&lt;/span&gt; concluded that it was.&lt;/span&gt;
&lt;span data-paragraph-id="75306" data-sentence-id="76528" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_76528"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76528"&gt;&lt;span class="ldml-cite"&gt;¶¶ 19-21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_76528"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="76562" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="76562" data-sentence-id="76573" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76573"&gt;&lt;span class="ldml-cite"&gt;¶119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In my view, our foregoing &lt;span class="ldml-entity"&gt;analysis in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_76573"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; made
 abundantly clear that our prior presumption of prejudice
 standard had turned out to be incorrect and that the proper
 standard was to review under a structural error/trial error
 dichotomy, under which the former requires reversal but the
 latter does not, absent a showing of prejudice &lt;span class="ldml-parenthetical"&gt;(i.e., that
 the error was not harmless)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="76562" data-sentence-id="76959" class="ldml-sentence"&gt;Indeed, I concurred in the

&lt;span class="ldml-pagenumber" data-val="56" data-id="pagenumber_76988" data-page_type="bare_number"&gt;&lt;/span&gt;
 judgment in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_76959"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, writing separately to express my
 view that the majority had adopted a false dichotomy because
 I believed that a third standard of reversal—a
 presumption of prejudice standard—existed and should
 have applied in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;, given that the error there defied
 harmless error review.&lt;/span&gt; &lt;span data-paragraph-id="76562" data-sentence-id="77292" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_77292"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_77292"&gt;&lt;span class="ldml-cite"&gt;¶¶ 24-25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_77292"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 342&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Gabriel, J., concurring in the judgment)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="76562" data-sentence-id="77369" class="ldml-sentence"&gt;The majority, however, &lt;em class="ldml-emphasis"&gt;rejected&lt;/em&gt; this view, and, as a
 result, I perceive no basis for resurrecting the presumption
 of prejudice standard now, barring a decision to overrule
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_77369"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and follow my concurring &lt;span class="ldml-entity"&gt;opinion in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="76562" data-sentence-id="77597" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:johnsonvschonlaw,2018co73" data-prop-ids="sentence_77369"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Johnson v. Schonlaw&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2018 CO 73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_77369"&gt;&lt;span class="ldml-cite"&gt;¶ 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892076103" data-vids="892076103" class="ldml-reference" data-prop-ids="embeddedsentence_77665"&gt;&lt;span class="ldml-cite"&gt;426 P.3d 345, 348&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting, in&lt;/span&gt; &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; decided the same day as
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; had
 rejected the notion that the erroneous participation of an
 alternate juror in deliberations could defy harmless error
 review&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="77874" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="77874" data-sentence-id="77885" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_77885"&gt;&lt;span class="ldml-cite"&gt;¶120&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In so concluding, I am unpersuaded by the majority's view
 that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_77885"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; intentionally followed &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_77885"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 not &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_77885"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_77885"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; because the
 factual circumstances in the respective &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; were distinct.&lt;/span&gt;
&lt;span data-paragraph-id="77874" data-sentence-id="78095" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_77885"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶ 56-62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="77874" data-sentence-id="78114" class="ldml-sentence"&gt;For the reasons discussed above,
 the majority's analysis reads into &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_78114"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 reasoning&lt;/span&gt; that simply is not there and, in my view, ignores
 much of what &lt;span class="ldml-entity"&gt;we&lt;/span&gt; actually said in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_78114"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, as well as
 the import of our lengthy discussion in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt; regarding
 the development of the law regarding standards of reversal.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="57" data-id="pagenumber_78424" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="78424" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="78424" data-sentence-id="78435" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_78435"&gt;&lt;span class="ldml-cite"&gt;¶121&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, consistent with &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_78435"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, I believe that
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are required to apply a constitutional harmless error
 standard of reversal in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, and I proceed to do so.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 C.
Constitutional Harmless Error
" data-parsed="true" data-id="heading_78610" data-format="upper_case_letters" data-specifier="C" data-ordinal_start="3" data-ordinal_end="3" id="heading_78610" data-value="C.
 Constitutional Harmless Error"&gt;&lt;span data-paragraph-id="78610" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="78610" data-sentence-id="78621" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;span data-paragraph-id="78610" data-sentence-id="78624" class="ldml-sentence"&gt;Constitutional Harmless Error&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="78654" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="78654" data-sentence-id="78665" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_78665"&gt;&lt;span class="ldml-cite"&gt;¶122&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; review preserved trial errors of constitutional dimension
 under a constitutional harmless error standard.&lt;/span&gt; &lt;span data-paragraph-id="78654" data-sentence-id="78780" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_78665"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Hagos v.
 People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2012 CO 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_78665"&gt;&lt;span class="ldml-cite"&gt;¶ 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;288 P.3d 116, 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="78654" data-sentence-id="78835" class="ldml-sentence"&gt;This
 standard requires &lt;span class="ldml-entity"&gt;an appellate court&lt;/span&gt; to reverse unless it
 determines that the error was harmless beyond a reasonable
 doubt.&lt;/span&gt; &lt;span data-paragraph-id="78654" data-sentence-id="78967" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_78835"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78654" data-sentence-id="78971" class="ldml-sentence"&gt;An error meets this standard when no
 reasonable possibility exists that the error might have
 contributed to the conviction.&lt;/span&gt; &lt;span data-paragraph-id="78654" data-sentence-id="79097" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_78971"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="79101" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="79101" data-sentence-id="79112" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79112"&gt;&lt;span class="ldml-cite"&gt;¶123&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The evidence on which &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; may rely to establish
 constitutional harmless error depends on the facts of the
 individual case.&lt;/span&gt; &lt;span data-paragraph-id="79101" data-sentence-id="79250" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:cridervpeopleofthestateofcoloradono06sc799186p3d39june2,2008" data-prop-ids="embeddedsentence_79278,sentence_79112"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Crider&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;186 P.3d at 43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt;
 that &lt;span class="ldml-quotation quote"&gt;"the likelihood of prejudice must be evaluated in
 the totality of the circumstances, on &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;-by-case
 basis"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="79406" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="79406" data-sentence-id="79417" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79417"&gt;&lt;span class="ldml-cite"&gt;¶124&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For example, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have relied on the overwhelming nature of the
 evidence of guilt to conclude that an error of constitutional
 dimension was harmless.&lt;/span&gt; &lt;span data-paragraph-id="79406" data-sentence-id="79573" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See, e.g.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892074697" data-vids="892074697" class="ldml-reference" data-prop-ids="embeddedsentence_79638,sentence_79417"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bartley v.
 People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;817 P.2d 1029, 1034&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"A
 constitutional error is harmless when the evidence properly
 received against &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; is so overwhelming that the
 constitutional violation was harmless beyond a reasonable
 doubt."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887014086" data-vids="887014086" class="ldml-reference" data-prop-ids="sentence_79417"&gt;&lt;span class="ldml-refname"&gt;Pettigrew&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79417"&gt;&lt;span class="ldml-cite"&gt;¶¶
 56-59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:501p3d813,825" data-prop-ids="embeddedsentence_79881"&gt;&lt;span class="ldml-cite"&gt;501 P.3d at 825-26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that a

&lt;span class="ldml-pagenumber" data-val="58" data-id="pagenumber_79901" data-page_type="bare_number"&gt;&lt;/span&gt;
 constitutional error was harmless beyond a reasonable doubt
 because, among other things, the evidence against &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt; was overwhelming&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="80048" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="80048" data-sentence-id="80059" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_80059"&gt;&lt;span class="ldml-cite"&gt;¶125&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In the present context, although I do not believe that the
 presumption of prejudice standard survived &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_80059"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, I
 would conclude that the factors that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; set forth in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_80059"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;775 P.2d at 590-91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, for determining
 whether the presumption of prejudice has been overcome are
 likewise useful in assessing whether an error was harmless.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="80399" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="80399" data-sentence-id="80410" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_80410"&gt;&lt;span class="ldml-cite"&gt;¶126&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Specifically, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_80410"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;775 P.2d at 590&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 determined that the presumption of prejudice may be overcome
 &lt;span class="ldml-quotation quote"&gt;"only by a showing that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; took
 extraordinary precautions to ensure that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; would
 not be prejudiced and that under &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;the
 case&lt;/span&gt;&lt;/span&gt;, the precautions were adequate to achieve that
 result."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="80399" data-sentence-id="80755" class="ldml-sentence"&gt;Such precautions include &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; inquiring whether
 the regular jurors could disregard their prior deliberations
 and any opinions that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had formed on the questions
 presented; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; inquiring whether the regular jurors could be
 receptive to the alternate juror's effort to assert a
 non-conforming view; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; instructing the alternate juror not
 to discuss with others the alternate juror's &lt;span class="ldml-entity"&gt;view of &lt;span class="ldml-entity"&gt;the
 case&lt;/span&gt;&lt;/span&gt; and to refrain from forming an opinion based on
 information that the alternate might learn after being
 discharged; &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; upon the alternate juror's return to the
 courthouse to participate in deliberations, questioning them
 regarding their activities since being discharged and their

&lt;span class="ldml-pagenumber" data-val="59" data-id="pagenumber_81450" data-page_type="bare_number"&gt;&lt;/span&gt;
 present ability to be fair; and &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; obtaining assurances from
 the remaining regular jurors and the alternate juror that the
 reconstituted jury's ability to render a fair verdict
 would not be impaired by the substitution.&lt;/span&gt; &lt;span data-paragraph-id="80399" data-sentence-id="81676" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_80755"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at
 590-91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="80399" data-sentence-id="81692" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; also suggested that &lt;span class="ldml-entity"&gt;an appellate court&lt;/span&gt; could
 consider the time spent in the first round of deliberations,
 as compared with the second, to determine whether the jury
 had, in fact, followed &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s instructions.&lt;/span&gt;
&lt;span data-paragraph-id="80399" data-sentence-id="81912" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_81692"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 590&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="81924" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="81924" data-sentence-id="81935" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_81935"&gt;&lt;span class="ldml-cite"&gt;¶127&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In my view, these factors, among the other circumstances of &lt;span class="ldml-entity"&gt;a
 case&lt;/span&gt;, are instructive in determining whether any error in
 substituting an alternate juror in the middle of jury
 deliberations was harmless.&lt;/span&gt; &lt;span data-paragraph-id="81924" data-sentence-id="82146" class="ldml-sentence"&gt;I would thus apply those factors
 here, and doing so leads me to conclude that any error was
 harmless beyond a reasonable doubt.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82276" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="82276" data-sentence-id="82287" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_82287"&gt;&lt;span class="ldml-cite"&gt;¶128&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, as noted above, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; meticulously took the
 precautionary measures that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; had identified in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_82287"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="82276" data-sentence-id="82416" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; instructed Juror W
 when it &lt;span class="ldml-quotation quote"&gt;"recessed"&lt;/span&gt; her to continue to abide by all
 of the admonitions that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; had given during the trial,
 including the admonitions not to discuss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; with others
 and to avoid exposure to external information that could
 affect her &lt;span class="ldml-entity"&gt;opinion of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="82276" data-sentence-id="82728" class="ldml-sentence"&gt;In addition, when &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 recalled Juror W, it asked her whether &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had followed its
 instructions, repeating each admonition individually, and &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
 confirmed that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had done so.

&lt;span class="ldml-pagenumber" data-val="60" data-id="pagenumber_82915" data-page_type="bare_number"&gt;&lt;/span&gt;
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_82728"&gt;&lt;span class="ldml-cite"&gt;¶129&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also explained to the original eleven jurors that
 to be able to reconstitute the jury, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would need to be
 willing to start their deliberations anew.&lt;/span&gt; &lt;span data-paragraph-id="82276" data-sentence-id="83095" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then
 gave those jurors time in the jury room to discuss whether
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could do so, and &lt;span class="ldml-entity"&gt;they&lt;/span&gt; responded that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could.&lt;/span&gt; &lt;span data-paragraph-id="82276" data-sentence-id="83225" class="ldml-sentence"&gt;And &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; took the extra step of confirming this with each juror
 individually.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="83310" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="83310" data-sentence-id="83321" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_83321"&gt;&lt;span class="ldml-cite"&gt;¶130&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To ensure that the jurors would actually begin anew, &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; further instructed the original jurors to destroy any
 notes concerning their initial deliberations and to select a
 new foreperson, and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; provided the reconstituted jury
 with blank verdict forms.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="83597" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="83597" data-sentence-id="83608" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_83608"&gt;&lt;span class="ldml-cite"&gt;¶131&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, I note that the reconstituted jury took five and
 one-half hours to reach a verdict, which, although admittedly
 not as lengthy a deliberation as the initial session, was
 sufficiently lengthy to suggest that the jury had, in fact,
 heeded &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s instructions.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="83889" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="83889" data-sentence-id="83900" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_83900"&gt;&lt;span class="ldml-cite"&gt;¶132&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Given all of the foregoing, I would conclude that any error
 in allowing the mid-deliberation substitution of Juror W was
 harmless beyond a reasonable doubt.&lt;/span&gt; &lt;span data-paragraph-id="83889" data-sentence-id="84065" class="ldml-sentence"&gt;Indeed, to conclude
 otherwise, notwithstanding &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s
 extraordinary efforts to ensure a fair trial, would all but
 render the arguable error here structural.&lt;/span&gt; &lt;span data-paragraph-id="83889" data-sentence-id="84236" class="ldml-sentence"&gt;For the reasons
 set forth above, however, I do not believe that our current
 &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; would support such a conclusion.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="61" data-id="pagenumber_84356" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-types="conclusion" data-parsed="true" data-id="heading_84356" data-format="upper_case_roman_numeral" data-content-heading-label="
 III.
Conclusion
" data-specifier="III" data-ordinal_start="3" data-ordinal_end="3" id="heading_84356" data-confidences="very_high" data-value="III.
 Conclusion"&gt;&lt;span data-paragraph-id="84356" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="84356" data-sentence-id="84367" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="84356" data-sentence-id="84372" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="84383" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="84383" data-sentence-id="84394" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_84394"&gt;&lt;span class="ldml-cite"&gt;¶133&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For these reasons, I disagree with the majority's
 application of a presumption of prejudice standard,
 particularly without at least assuming that an error had
 occurred.&lt;/span&gt; &lt;span data-paragraph-id="84383" data-sentence-id="84572" class="ldml-sentence"&gt;Instead, I would assume without deciding that the
 mid-deliberation substitution was erroneous, and in
 accordance with &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_84572"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_84572"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_84572"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, I
 would review for harmless error.&lt;/span&gt; &lt;span data-paragraph-id="84383" data-sentence-id="84758" class="ldml-sentence"&gt;Doing so here, I would then
 conclude that any error was harmless beyond a reasonable
 doubt.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="84852" class="ldml-paragraph no-indent mt-4"&gt;
 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="84852" data-sentence-id="84863" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_84863"&gt;&lt;span class="ldml-cite"&gt;¶134&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, I respectfully concur in the judgment, only.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="84927" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="84927" data-sentence-id="84928" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="84938" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="84938" data-sentence-id="84939" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN1" class="ldml-notemarker" id="note-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari to review the
 following issues:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_84997" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="84998" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="85001" class="ldml-sentence"&gt;Whether the standard of review for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;a trial
 court&lt;/span&gt;'s decision&lt;/span&gt; to substitute an alternate juror for a
 deliberating juror is de novo or abuse of discretion, or
 whether the standard of review is subsumed by the prejudice
 analysis.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_85231" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="85232" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-sentence-id="85235" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred by applying the
 presumption-of-prejudice test from &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_85235"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Burnette&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;775 P.2d 583&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, to &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;'s mid-deliberations substitution of the alternate
 juror instead of a harmlessness analysis as adopted by
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_85235"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2018 CO 72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-pagenumber" data-val="336" data-embedded="true" data-id="pagenumber_85524" data-page_type="bracketed_cite" data-vol="426" data-rep="P.3d"&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="85526" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="85526" data-sentence-id="85527" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN2" class="ldml-notemarker" id="note-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; In this opinion, any reference to &lt;span class="ldml-entity"&gt;a
 defendant&lt;/span&gt;'s right to a fair trial includes &lt;span class="ldml-entity"&gt;a
 defendant&lt;/span&gt;'s right in a felony case to a fair and
 unanimous verdict by a jury of twelve without outside
 interference.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="85732" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="85732" data-sentence-id="85733" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN3" class="ldml-notemarker" id="note-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Just a few weeks ago, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; explained
 that our prior &lt;span class="ldml-entity"&gt;opinion in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_85733"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Hagos v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2012 CO
 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_85733"&gt;&lt;span class="ldml-cite"&gt;¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_85733"&gt;&lt;span class="ldml-cite"&gt;288 P.3d 116, 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, recognized three standards
 of reversal for preserved nonstructural errors:
 constitutional harmless error, nonconstitutional harmless
 error, and a standard requiring that the effect of the error
 on the proceedings be constitutionally material to the claim
 advanced.&lt;/span&gt; &lt;span data-paragraph-id="85732" data-sentence-id="86123" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevcrabtree,2024co40" data-prop-ids="sentence_85733"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Crabtree&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2024 CO 40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_85733"&gt;&lt;span class="ldml-cite"&gt;¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:___p3d___"&gt;&lt;span class="ldml-cite"&gt;___P.3d ___&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="85732" data-sentence-id="86175" class="ldml-sentence"&gt;The standard of reversal from &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_86175"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_86175"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; apply today is unique to
 mid-deliberations juror substitution.&lt;/span&gt; &lt;span data-paragraph-id="85732" data-sentence-id="86295" class="ldml-sentence"&gt;Thus, it is not
 surprising that it wasn't included in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_86295"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Hagos&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 among the standards of reversal for preserved nonstructural
 errors.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="86426" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="86426" data-sentence-id="86427" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN4" class="ldml-notemarker" id="note-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Under &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_86427"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_86427"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, the precautions employed by &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;
 to prevent prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; must be considered in
 light of the surrounding circumstances.&lt;/span&gt; &lt;span data-paragraph-id="86426" data-sentence-id="86604" class="ldml-sentence"&gt;For the sake of
 convenience and to avoid repetition, when discussing how the
 presumption of prejudice may be overcome, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; don't always
 mention that the surrounding circumstances must be taken into
 account.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="86814" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="86814" data-sentence-id="86815" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN5" class="ldml-notemarker" id="note-ftn.FN5"&gt;5&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; didn't specify whether
 the standard of reversal was constitutional or
 nonconstitutional harmless error.&lt;/span&gt; &lt;span data-paragraph-id="86814" data-sentence-id="86935" class="ldml-sentence"&gt;And &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_86935"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 didn't have to resolve which type of harmless error
 standard applied in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt; because &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;
 prevailed under either.&lt;/span&gt; &lt;span data-paragraph-id="86814" data-sentence-id="87078" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_86935"&gt;&lt;span class="ldml-cite"&gt;¶ 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="87101" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="87101" data-sentence-id="87102" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN6" class="ldml-notemarker" id="note-ftn.FN6"&gt;6&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Interestingly, before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;
 seem to have flipped sides.&lt;/span&gt; &lt;span data-paragraph-id="87101" data-sentence-id="87172" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; urge &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to stand by
 the presumption-of-prejudice standard set out in
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_87172"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_87172"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and Castro asks &lt;span class="ldml-entity"&gt;us&lt;/span&gt;
 to proclaim &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_87172"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and its outcome-determinative
 standard of reversal &lt;span class="ldml-parenthetical"&gt;(constitutional harmless error)&lt;/span&gt;
 controlling.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="87413" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="87413" data-sentence-id="87414" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN7" class="ldml-notemarker" id="note-ftn.FN7"&gt;7&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_87414"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the error was
 preserved, so the outcome-determinative standard of reversal
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; applied was harmless error.&lt;/span&gt; &lt;span data-paragraph-id="87413" data-sentence-id="87535" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_87414"&gt;&lt;span class="ldml-cite"&gt;¶ 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="87413" data-sentence-id="87558" class="ldml-sentence"&gt;In
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893230940" data-vids="893230940" class="ldml-reference" data-prop-ids="sentence_87558"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Olano&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the error was unpreserved, so the
 outcome-determinative standard of reversal applied by &lt;span class="ldml-entity"&gt;the
 Supreme Court&lt;/span&gt; was plain error.&lt;/span&gt; &lt;span data-paragraph-id="87413" data-sentence-id="87694" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:507usat730,741" data-prop-ids="sentence_87558"&gt;&lt;span class="ldml-cite"&gt;507 U.S. at 730, 741&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="87716" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="87716" data-sentence-id="87717" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN8" class="ldml-notemarker" id="note-ftn.FN8"&gt;8&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; use &lt;span class="ldml-quotation quote"&gt;"statutory history"&lt;/span&gt;
 as a reference &lt;span class="ldml-quotation quote"&gt;"to the evolution of &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; as it is
 amended over time by &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;,"&lt;/span&gt; which is
 different from &lt;span class="ldml-quotation quote"&gt;"legislative history,"&lt;/span&gt; a reference
 &lt;span class="ldml-quotation quote"&gt;"to the development of &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; during the legislative
 process and prior to &lt;span class="ldml-entity"&gt;enactment&lt;/span&gt; or &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="87716" data-sentence-id="88007" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:carreravpeople,2019co83" data-prop-ids="sentence_87717"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrera v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_87717"&gt;&lt;span class="ldml-cite"&gt;¶ 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; n.6, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893625518" data-vids="893625518" class="ldml-reference" data-prop-ids="embeddedsentence_88072"&gt;&lt;span class="ldml-cite"&gt;449
 P.3d 725, 730 n.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:colooilgasconservationcommnvmartinez,2019co3"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Colo. Oil &amp; Gas
 Conservation Comm'n v. Martinez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶
 30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; n.2, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891671070" data-vids="891671070" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;433 P.3d 22, 29 n.2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="88174" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="88174" data-sentence-id="88175" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN9" class="ldml-notemarker" id="note-ftn.FN9"&gt;9&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Jurors &lt;span class="ldml-parenthetical"&gt;(including alternates)&lt;/span&gt; are
 almost never sequestered now, and, in any event, it is not
 necessary to sequester alternate jurors to have them
 available to replace regular jurors during deliberations.&lt;/span&gt; &lt;span data-paragraph-id="88174" data-sentence-id="88385" class="ldml-sentence"&gt;As
 occurred here, many &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; recess alternate jurors as
 deliberations are about to commence.&lt;/span&gt; &lt;span data-paragraph-id="88174" data-sentence-id="88487" class="ldml-sentence"&gt;The trick is to do as
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did here and provide alternate jurors
 appropriate admonishments regarding their conduct while
 deliberations are taking place.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="88654" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="88654" data-sentence-id="88655" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN10" class="ldml-notemarker" id="note-ftn.FN10"&gt;10&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; It hardly bears stating that our
 General Assembly is free to clean up &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_88655"&gt;&lt;span class="ldml-cite"&gt;section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="88654" data-sentence-id="88748" class="ldml-sentence"&gt;In
 the meantime, though, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; remain in the dark about &lt;span class="ldml-entity"&gt;the
 legislative intent&lt;/span&gt; behind &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;, so &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reaffirm that
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_88748"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; continues to be good law.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="88902" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="88902" data-sentence-id="88903" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN11" class="ldml-notemarker" id="note-ftn.FN11"&gt;11&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; When &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decided &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;,
 neither&lt;/span&gt; &lt;span class="ldml-cite"&gt;Crim. P. 24&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; nor &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_88903"&gt;&lt;span class="ldml-cite"&gt;section 16-10-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; permitted the
 replacement of a regular juror with an alternate juror during
 deliberations.&lt;/span&gt; &lt;span data-paragraph-id="88902" data-sentence-id="89071" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_88903"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;775 P.2d at 586&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="88902" data-sentence-id="89098" class="ldml-sentence"&gt;Having
 acknowledged that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had violated the rule and
 &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; through its mid-deliberations juror substitution,
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; proceeded to consider &lt;span class="ldml-quotation quote"&gt;"the legal effect &lt;span class="ldml-parenthetical"&gt;[on]&lt;/span&gt; the
 verdict of the improperly constituted jury."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="88902" data-sentence-id="89328" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_89098"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 587&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="88902" data-sentence-id="89340" class="ldml-sentence"&gt;It's in that context that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; applied
 the presumption of prejudice from &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893529580" data-vids="893529580" class="ldml-reference" data-prop-ids="sentence_89340"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Boulies&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 discussed how that presumption may be rebutted.&lt;/span&gt;
&lt;span data-paragraph-id="88902" data-sentence-id="89473" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_89340"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="89477" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="89477" data-sentence-id="89478" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN12" class="ldml-notemarker" id="note-ftn.FN12"&gt;12&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; The holdout juror had reported
 during jury selection that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was hard of hearing but that
 his doctor had told him &lt;span class="ldml-entity"&gt;he&lt;/span&gt; didn't need hearing aids.&lt;/span&gt;
&lt;span data-paragraph-id="89477" data-sentence-id="89626" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_89478"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;974 P.2d at 482&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="89653" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="89653" data-sentence-id="89654" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN13" class="ldml-notemarker" id="note-ftn.FN13"&gt;13&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Notably, &lt;span class="ldml-entity"&gt;the court of appeals in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_89654"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; had found the error harmless on a slightly
 different basis.&lt;/span&gt; &lt;span data-paragraph-id="89653" data-sentence-id="89758" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_89654"&gt;&lt;span class="ldml-cite"&gt;¶ 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 337&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="89653" data-sentence-id="89780" class="ldml-sentence"&gt;That division had
 been persuaded by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s questioning of each
 juror after the verdict was returned and the affirmation by
 each juror that the alternate had not influenced his or her
 verdict.&lt;/span&gt; &lt;span data-paragraph-id="89653" data-sentence-id="89987" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_89780"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="89653" data-sentence-id="89991" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;we&lt;/span&gt; acknowledged that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE
 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; generally forbids inquiry into a jury's mental
 processes during deliberations, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; stated that &lt;span class="ldml-quotation quote"&gt;"it is
 &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt; forbidden to inquire whether an outside
 influence was brought to bear upon any juror."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="89653" data-sentence-id="90228" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_90228"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90228"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_90228"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at 341&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="89653" data-sentence-id="90275" class="ldml-sentence"&gt;Still, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; ultimately declined to address whether &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;'s questioning of the jurors was permissible under
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; rested our harmlessness determination
 on other grounds.&lt;/span&gt; &lt;span data-paragraph-id="89653" data-sentence-id="90471" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_90471"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90471"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; n.1, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference" data-prop-ids="sentence_90471"&gt;&lt;span class="ldml-cite"&gt;426 P.3d at
 341 n.1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="90510" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="90510" data-sentence-id="90511" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN14" class="ldml-notemarker" id="note-ftn.FN14"&gt;14&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; considered the option of assuming
 without deciding that a mid-deliberations juror substitution
 is error, and then reviewing for constitutional harmless
 error.&lt;/span&gt; &lt;span data-paragraph-id="90510" data-sentence-id="90679" class="ldml-sentence"&gt;But if &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'re going to decline to decide if such a
 substitution is error, then why not take the error question
 out of the equation altogether and simply impose a rebuttable
 presumption of prejudice — a la &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_90679"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_90679"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;?&lt;/span&gt; &lt;span data-paragraph-id="90510" data-sentence-id="90910" class="ldml-sentence"&gt;At any rate, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are obligated to cling to
 the presumption-of-prejudice approach shepherded by
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895143182" data-vids="895143182" class="ldml-reference" data-prop-ids="sentence_90910"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burnette&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893607529" data-vids="893607529" class="ldml-reference" data-prop-ids="sentence_90910"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Carrillo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; may not
 betray our old friend, stare decisis, &lt;span class="ldml-quotation quote"&gt;"a basic
 self-governing principle within the Judicial Branch, which is
 entrusted with the sensitive and difficult task of fashioning
 and preserving a jurisprudential system that is not based
 upon &lt;span class="ldml-quotation quote"&gt;'an arbitrary discretion.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="90510" data-sentence-id="91314" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890478563" data-vids="890478563" class="ldml-reference" data-prop-ids="sentence_90910"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Patterson
 v. McLean Credit Union&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;491 U.S. 164, 172&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90910"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;The Federalist&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Alexander Hamilton&lt;/span&gt;)&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90910"&gt;&lt;span class="ldml-refname"&gt;Henry Lodge&lt;/span&gt; &lt;span class="ldml-cite"&gt;ed. 1888&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;&lt;em class="ldml-emphasis"&gt;superseded on other
 grounds&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90910"&gt;&lt;span class="ldml-cite"&gt;Civil Rights Act of 1991&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90910"&gt;&lt;span class="ldml-cite"&gt;Pub. L. No. 102-106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90910"&gt;&lt;span class="ldml-cite"&gt;105 Stat. 1071&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-cert"&gt;as recognized in&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891666254" data-vids="891666254" class="ldml-reference" data-prop-ids="sentence_90910"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;CBOCS W., Inc. v.
 Humphries&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;553 U.S. 442&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="91612" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="91612" data-sentence-id="91613" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN15" class="ldml-notemarker" id="note-ftn.FN15"&gt;15&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Castro additionally argues that &lt;span class="ldml-entity"&gt;he&lt;/span&gt;
 was prejudiced by Juror C's participation because Juror C
 was a former judge and had legal expertise.&lt;/span&gt; &lt;span data-paragraph-id="91612" data-sentence-id="91755" class="ldml-sentence"&gt;Because this
 contention is beyond the scope of the questions &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agreed to
 review, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not address it.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;p data-paragraph-id="91861" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="91861" data-sentence-id="91862" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;